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07:38:54    1                  IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
            2                           MARSHALL DIVISION

            3   UNITED SERVICES AUTOMOBILE        )(
                ASSOCIATION
            4                                     )(    CIVIL ACTION NO.

            5   VS.                               )(    2:18-CV-366-JRG

            6                                     )(    MARSHALL, TEXAS
                                                        JANUARY 6, 2020
            7   WELLS FARGO BANK, N.A.            )(    9:49 A.M.

            8

            9             TRANSCRIPT OF VOIR DIRE OF THE JURY PANEL

           10                             MORNING SESSION

           11         BEFORE THE HONORABLE CHIEF JUDGE RODNEY GILSTRAP,

           12                     UNITED STATES DISTRICT JUDGE

           13
                APPEARANCES:
           14

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     23
          (Proceedings recorded by mechanical stenography, transcript
     24   produced on a CAT system.)

     25
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09:49:06    1                       P R O C E E D I N G S

09:49:06    2           (Venire panel in.)

09:49:08    3           COURT SECURITY OFFICER:        All rise.

09:49:11    4           THE COURT:     Good morning.      Please be seated.

09:49:23    5           Good morning, ladies and gentlemen.           It's good to

09:49:37    6   have you with us this morning.

09:49:38    7           My name is Rodney Gilstrap, and I am the Chief

09:49:45    8   United States District Judge for the U.S. District Court

09:49:47    9   for the Eastern District of Texas.

09:49:48   10           I live here in Marshall.         I've lived in Marshall

09:49:52   11   since 1981 when I graduated from law school and came here

09:49:56   12   to start practicing law.      I've practiced law in and around

09:49:59   13   this part of Texas for 30 years before I was nominated and

09:50:04   14   confirmed to be a U.S. District Judge.         And I will confess

09:50:08   15   to you that I was not born in Texas, but I got here as

09:50:12   16   quick as I could.

09:50:13   17           I was born in Pensacola, Florida, and I came to

09:50:16   18   Texas to go to college at Baylor University where I did my

09:50:20   19   undergraduate degree, and then I stayed and went to law

09:50:25   20   school at Baylor School of Law.

09:50:27   21           I'm married.      I have two grown children.        And my

09:50:29   22   wife owns and operates a retail floral business here in

09:50:32   23   Marshall.

09:50:33   24           Now, I tell you all these things about myself

09:50:35   25   because in a few minutes, I'm going to ask each of you to
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09:50:38    1   give me the same kind of information about each of you.

09:50:41    2   And I think you're entitled to know as much about me as I'm

09:50:44    3   about to find out about each of you.

09:50:46    4              We are about to engage in the selection of a jury

09:50:50    5   in a civil case involving allegations of patent

09:50:53    6   infringement.     However, before we go any further, I'd like

09:50:57    7   to briefly review with you how we came to have our civil

09:51:01    8   jury trial system in the United States.

09:51:03    9              If you go back in ancient history and if you begin

09:51:07   10   with the first five books of the Old Testament, the

09:51:13   11   Pentateuch, you'll see that the ancient Jewish Nation

09:51:15   12   empaneled juries to decide issues of property ownership and

09:51:18   13   property value.

09:51:20   14              The ancient Greeks began using a jury system about

09:51:23   15   1500 BC.    The Romans, as they did with many things, copied

09:51:29   16   the jury system from the Greeks.        And it was the Romans

09:51:32   17   that brought the jury system to what we now know as Great

09:51:36   18   Britain when they conquered that island in the 4th Century

09:51:40   19   AD.

09:51:40   20              Having brought the jury system to Great Britain in

09:51:43   21   the 4th Century AD, it flourished there for 800 years until

09:51:47   22   the 12th century when a tyrannical king came to the throne

09:51:55   23   of Great Britain known as King John.         And King John ended

09:51:59   24   up in a series of multiple disputes with his nobles which

09:52:03   25   led England to the brink of civil war.
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09:52:06    1           Among those disputes was King John's efforts to do

09:52:11    2   away with the right to trial by jury in a civil case.

09:52:14    3   Those disputes, as I say, led England to the brink of civil

09:52:18    4   war, but that civil war was avoided by an agreement.

09:52:22    5           A settlement was reached between the king and his

09:52:23    6   nobles, signed at a location known as Runnymede.            And the

09:52:27    7   document that settled all those disputes and avoided civil

09:52:30    8   war and restored the right to trial by jury in a civil case

09:52:34    9   in England is known as the Magna Carta.          In fact, ladies

09:52:40   10   and gentlemen, 28 of our 50 United States have adopted from

09:52:43   11   the Magna Carta the exact language verbatim guaranteeing

09:52:48   12   the right to trial by jury in a civil case.

09:52:50   13           So you can see that the right to trial by jury was

09:52:55   14   an important part of life in Great Britain for centuries

09:53:00   15   before those brave souls who traveled across the Atlantic

09:53:07   16   Ocean came to these shores as colonists of Great Britain,

09:53:10   17   and they brought with them the concept of the right to

09:53:14   18   trial by jury in a civil case.       And that right to trial by

09:53:17   19   jury in a civil case flourished in British North America

09:53:20   20   for over a hundred years until another tyrannical king came

09:53:24   21   to the throne of Great Britain.

09:53:27   22           This time his name was King George III.            In fact,

09:53:30   23   when Thomas Jefferson sat down to write the Declaration of

09:53:34   24   Independence that specifies clearly and specifically why we

09:53:38   25   should separate from Great Britain and form our own
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09:53:41    1   independent nation, one of the specific points spelled out

09:53:46    2   in the Declaration of Independence was the Crown's efforts

09:53:50    3   to prevent there being the right to trial by jury in civil

09:53:53    4   cases in this country.

09:53:55    5           After we won our independence, that right was so

09:54:00    6   important that it was written into our governing document,

09:54:04    7   which you should all know to be the Constitution of the

09:54:08    8   United States.    In fact, it's a part of what we call the

09:54:10    9   Bill of Rights, the first 10 amendments to the

09:54:13   10   Constitution.

09:54:13   11           Those rights were added and ratified in 1791, and

09:54:19   12   among those first two -- first 10 amendments, you find the

09:54:24   13   Seventh Amendment.     The Seventh Amendment to the U.S.

09:54:27   14   Constitution guarantees constitutionally to every American

09:54:31   15   citizen the right to submit their civil disputes to a trial

09:54:34   16   by jury, and we've had that right since 1791.

09:54:38   17           So by being here today, ladies and gentlemen, and

09:54:42   18   presenting yourselves for jury duty, in a very real way,

09:54:46   19   you are all doing important public service to preserve and

09:54:50   20   protect and defend the rights that we enjoy as Americans,

09:54:55   21   including the right to trial by jury in a civil case.

09:54:57   22           I always tell citizens who appear for jury duty,

09:55:02   23   as you have this morning, that in my personal opinion, jury

09:55:07   24   duty is the second highest form of public service any

09:55:10   25   American can render.     In my personal opinion, the highest
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09:55:14    1   form of public service that any American can render to our

09:55:19    2   country is to serve in our armed forces.

09:55:21    3           Now, later this morning, the lawyers are going to

09:55:26    4   address the panel, that's those of you who have appeared

09:55:30    5   for jury duty, and they're going to ask questions, and

09:55:32    6   that's their right to ask questions as a part of securing a

09:55:35    7   fair and impartial jury from among you to hear the evidence

09:55:39    8   in this case.

09:55:40    9           But as they ask those questions of you later this

09:55:43   10   morning, I want you to understand that they're not trying

09:55:46   11   to be nosy; they're not trying to pry into your personal

09:55:49   12   affairs unduly.    They are trying to carry out their

09:55:53   13   obligation to secure for the purposes of this trial a fair

09:55:58   14   and impartial jury to hear the evidence.

09:56:01   15           I don't know if it will happen this morning during

09:56:04   16   jury selection, it rarely does, but I want to make you

09:56:08   17   aware that if you should specifically be asked a

09:56:11   18   question -- and some of these questions will be to the

09:56:13   19   panel as a whole, some of them will be to specific members

09:56:17   20   of the jury panel, each of you individually, so you can

09:56:19   21   expect questions both ways -- but if during the process you

09:56:23   22   should be asked a question that you consider to be so

09:56:25   23   personal and so private that you're not comfortable

09:56:28   24   answering it in front of the rest of the panel, then you

09:56:31   25   always have the right to simply say, I'd like to discuss
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09:56:34    1   that with Judge Gilstrap.

09:56:35    2           And if that's your answer, I'll provide an

09:56:38    3   opportunity for you to answer that question to me outside

09:56:40    4   of the presence of the rest of the members on the panel.

09:56:44    5           However, ladies and gentlemen, that is a rarity.

09:56:46    6   It doesn't come up often, but I want you to know that at

09:56:49    7   least that possibility is there if it should.

09:56:51    8           The important thing is, while you're being

09:56:53    9   questioned this morning that your answers are full,

09:56:56   10   complete, and truthful to the questions that are asked.

09:56:59   11   There are no wrong answers to any of the questions you're

09:57:03   12   going to be asked as long as your responses are full,

09:57:05   13   complete, and truthful.

09:57:07   14           Now, the trial in this case will begin today and

09:57:12   15   will continue through the remainder of this week, and I

09:57:14   16   expect that we will finish and have a verdict sometime on

09:57:20   17   Friday of this week.     That's my expectation.

09:57:22   18           And so I need to ask if there are any persons on

09:57:26   19   the panel that either have a surgical procedure scheduled

09:57:29   20   this week for you or a member of your family that's

09:57:32   21   dependent upon you, or if you have non-refundable

09:57:35   22   international airline tickets to leave the country -- and

09:57:39   23   hopefully a return ticket to come back -- if there's some

09:57:42   24   very serious reason why you could not be here this week if

09:57:46   25   you were selected to serve on the jury, then I need to know
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09:57:49    1   about that.   If there's anybody that falls in that

09:57:51    2   category, please raise their hand.

09:57:53    3            I don't see anybody in the jury box.          I don't see

09:57:59    4   anybody outside the jury box.       I see no hands.      Okay.

09:58:03    5   Thank you.

09:58:03    6            At this time, I'm going to call for announcements

09:58:07    7   in the case of United States Automobile Association --

09:58:08    8   excuse me -- United Services Automobile Association versus

09:58:14    9   Wells Fargo Bank.     This is Civil Case No. 2:18-CV-366.

09:58:20   10            And, counsel, as you give your announcements,

09:58:22   11   please identify yourselves, the members of your trial

09:58:24   12   teams, and any corporate representatives that you have with

09:58:28   13   you.   We'll begin first with the Plaintiff.          What says the

09:58:32   14   Plaintiff?

09:58:33   15            MR. BUNT:    Thank you, Your Honor.        Good morning,

09:58:35   16   ladies and gentlemen.     My name is Chris Bunt, and I

09:58:38   17   represent the Plaintiff, United Services Automobile

09:58:42   18   Association whom we will refer to as USAA.

09:58:43   19            With me today is Mr. Jason Sheasby, Ms. Lisa

09:58:47   20   Glasser, Mr. Tony Roles, and our corporate representative,

09:58:55   21   Mr. John Brady, who is a vice president at USAA.

09:58:58   22            And, Your Honor, we're ready to proceed.

09:59:00   23            THE COURT:    Thank you, counsel.

09:59:01   24            What says the Defendant?

09:59:02   25            MR. HILL:    Good morning, Your Honor.        May it
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09:59:05    1   please the Court.     Good morning, ladies and gentlemen.           My

09:59:07    2   name is Wesley Hill, and it is my privilege in this case to

09:59:10    3   represent the Defendant, Wells Fargo Bank.           And I'd like to

09:59:14    4   introduce you to the other folks here at the table with me.

09:59:16    5            Trying the case with me this week will be Mr. Tom

09:59:18    6   Melsheimer, Ms. Danielle Williams, and Mr. Brett Johnson.

09:59:22    7   And our corporate representative, ladies and gentlemen,

09:59:24    8   from Wells Fargo Bank is Mr. Al Hecht.          He's a senior vice

09:59:31    9   president with Wells Fargo.

09:59:32   10            And we're also ready to proceed, Your Honor.

09:59:34   11            THE COURT:     Thank you.

09:59:35   12            Now, ladies and gentlemen, as I've told you, this

09:59:38   13   is a patent case arising under the patent laws of the

09:59:41   14   United States.    And what the Plaintiff, USAA, is claiming

09:59:45   15   in this case is that their patents were infringed by the

09:59:48   16   Defendant, Wells Fargo Bank, and the Plaintiff is seeking

09:59:53   17   money damages because of that alleged infringement.

09:59:55   18            Now, the Defendant, Wells Fargo, denies that it

09:59:58   19   has infringed the patents owned by USAA and Wells Fargo

10:00:04   20   contends that those patents are invalid.

10:00:07   21            Now, what I've just told you is a very shorthand

10:00:10   22   informal way of describing this case in layman's terms.                 I

10:00:14   23   know that you've all seen the video prepared by the Federal

10:00:18   24   Judicial Center on patent cases, and having seen that, you

10:00:21   25   know more than most citizens in East Texas do about the
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10:00:24    1   patent process.

10:00:25    2              As I say, the lawyers on both sides are about to

10:00:28    3   question the panel to gather information to exercise their

10:00:33    4   challenges and complete the process of securing eight

10:00:36    5   jurors who will serve as the jury in this case and will

10:00:39    6   hear the evidence on a fair and an impartial basis.

10:00:42    7              Again, ladies and gentlemen, there are no wrong

10:00:45    8   answers to any of the questions you'll be asked as long as

10:00:48    9   the responses you give are full, complete, and truthful.

10:00:52   10              During the jury selection process, if any of the

10:00:56   11   attorneys should ask anybody on the panel or the panel as a

10:00:59   12   whole a question that I don't think is proper, I will

10:01:02   13   certainly stop them.      But I want you to understand, ladies

10:01:04   14   and gentlemen, these are very skilled and experienced trial

10:01:08   15   lawyers.    They understand the rules of this Court.           I don't

10:01:11   16   expect that to happen.

10:01:12   17              One thing I do want to call your attention to

10:01:15   18   before the lawyers begin their questioning, because I

10:01:18   19   suspect you may be questioned about it by the lawyers, is

10:01:21   20   the burden of proof that will be applied in this case.

10:01:25   21              In a patent case like this, a jury may be called

10:01:28   22   upon to apply two different burdens of proof.            The jury may

10:01:33   23   apply a burden of proof known as the preponderance of the

10:01:37   24   evidence, as well as a second burden of proof known as

10:01:39   25   clear and convincing evidence.
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10:01:40    1              Now, when you -- when you're responding to any of

10:01:47    2   the lawyers' questions about your ability to apply these

10:01:50    3   burdens of proof, I need to instruct you that when the

10:01:52    4   party -- when a party has the burden of proof on any claim

10:01:56    5   or defense by a preponderance of the evidence -- that's the

10:02:00    6   first burden of proof I mentioned to you -- that means that

10:02:04    7   the jury must be persuaded by the credible or believable

10:02:07    8   evidence that that claim or defense is more probably true

10:02:11    9   than not true.    I'll say that again, more probably true

10:02:17   10   than not true.

10:02:18   11              Sometimes this preponderance of the evidence is

10:02:22   12   talked about as being the greater weight and degree of

10:02:25   13   credible testimony.

10:02:26   14              Let me see if I can give you an example that I

10:02:29   15   hope will help.    I think everyone in the room can see in

10:02:33   16   front of our court reporter a statue of the Lady of

10:02:37   17   Justice.    She is blindfolded.      She holds the Sword of

10:02:40   18   Justice in her right hand lowered at her side.            And at her

10:02:44   19   left, she holds above her the Scales of Justice.            And those

10:02:47   20   scales are equally balanced.       And that's where the parties

10:02:50   21   start off in this case, equally balanced in the same

10:02:54   22   position.

10:02:55   23              Over the course of the trial, both sides are going

10:03:00   24   to put on evidence in this case.        And you can think of it

10:03:02   25   as putting evidence on one side of the scales for the
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10:03:04    1   Plaintiff and one side of the scales for the Defendant.

10:03:07    2            And when all the evidence has been presented, the

10:03:09    3   jury is going to be asked to answer certain questions.              And

10:03:14    4   if the party has the burden of proof on any question, and

10:03:17    5   you look at those scales and you consider all the evidence

10:03:19    6   that's been put on both sides during the trial, if those

10:03:23    7   scales tip in favor of the party who has the burden of

10:03:27    8   proof, even if they tip ever so slightly, then that party

10:03:31    9   has met the burden of proof of a preponderance of the

10:03:33   10   evidence.

10:03:38   11            On the other hand, ladies and gentlemen, where a

10:03:40   12   party has that second burden of proof, proving any defense

10:03:46   13   by a clear -- by clear and convincing evidence, it means

10:03:48   14   that the jury must have an abiding conviction that the

10:03:52   15   truth of the party's factual contentions are highly

10:03:58   16   probable.   I'll say that again, an abiding conviction that

10:04:01   17   the truth of the party's factual contentions are highly

10:04:04   18   probable.   This second standard, this clear and convincing

10:04:07   19   evidence standard is a higher burden of proof than the

10:04:12   20   preponderance of the evidence.

10:04:15   21            If you think about the example I gave you, the

10:04:18   22   evidence is put on each side of the scales by Plaintiff and

10:04:20   23   Defendant over the course of the trial.          Then the jury's

10:04:22   24   asked to consider that in answering certain questions.              If

10:04:26   25   a party has the burden of proof by clear and convincing
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10:04:29    1   evidence, then those scales must tip in that party's favor,

10:04:33    2   and they must definitely tip in that party's favor.             It is

10:04:37    3   not adequate if they tip ever so slightly.

10:04:43    4            Clear and convincing evidence requires more and is

10:04:46    5   a higher burden of proof than the preponderance of the

10:04:48    6   evidence.

10:04:48    7            Now, ladies and gentlemen, there's a third burden

10:04:52    8   of proof that has absolutely no application in this case,

10:04:54    9   but I'm confident every one of you has heard about it

10:04:57   10   because you've seen it on television and you've seen it in

10:05:00   11   the movies, and that's beyond a reasonable doubt.             That

10:05:05   12   burden of proof, beyond a reasonable doubt, is the burden

10:05:08   13   of proof applied in a criminal case, and it has absolutely

10:05:12   14   no application whatsoever in a civil case such as this.

10:05:17   15            You should not -- you should not confuse clear and

10:05:20   16   convincing evidence with beyond a reasonable doubt.             It's

10:05:22   17   not as high as beyond a reasonable doubt, but it is a

10:05:26   18   higher standard than the preponderance of the evidence.

10:05:31   19            I give you these instructions in case the lawyers

10:05:33   20   ask you about your ability to apply those two burdens of

10:05:37   21   proof fairly and impartially to the evidence that will be

10:05:40   22   presented if you're selected to serve on this jury.

10:05:42   23            Now, before the lawyers address you, I'm going to

10:05:48   24   let each of you at this time give me the same information

10:05:52   25   about each of yourselves that I gave you about myself when
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10:05:54    1   we started this morning.      Each of you have laminated copies

10:05:59    2   of nine questions, and I think they're also shown on the

10:06:02    3   screen -- or they will be.       They're readily available to

10:06:07    4   you.

10:06:07    5            This is how we're going to do this, ladies and

10:06:09    6   gentlemen.   We're going to start with Panel Member No. 1,

10:06:12    7   and the Court Security Officer is going to bring a handheld

10:06:16    8   microphone to Panel Member No. 1.         And at that point, I'm

10:06:18    9   go to ask that member of the panel to stand and answer

10:06:23   10   those nine questions.      And, if you will, make sure that you

10:06:26   11   hold the handheld microphone close enough so that you can

10:06:29   12   be heard.

10:06:30   13            This is a big room.       There are a lot of bodies in

10:06:33   14   here.   And it takes a lot of sound so that everybody can

10:06:37   15   hear, so make sure that you speak up.

10:06:39   16            Also, please direct your answers toward the

10:06:41   17   lawyers at the tables because they're the ones that need to

10:06:44   18   know the answers to these questions from each of you.

10:06:47   19            Then when we're finished with Panel Member No. 1,

10:06:50   20   he'll hand the microphone to Panel Member No. 2.            She'll do

10:06:53   21   the same thing.    And Panel Member No. 3 is next.          And we'll

10:06:56   22   go through all the members of the panel one at a time.

10:06:58   23            Also, ladies and gentlemen, I'd like to tell you

10:07:04   24   that during the process where you're actually being asked

10:07:07   25   questions by the lawyers, if you're asked a specific
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10:07:10    1   question that calls for you to give a specific response,

10:07:14    2   then you should wait until the handheld microphone is

10:07:16    3   brought to you by the Court Security Officer, stand, and

10:07:19    4   give your answer to the lawyer that's asked the question.

10:07:24    5             We'll do it the same way for questions asked

10:07:27    6   during the examination by the lawyers as we will during

10:07:30    7   this background information section when you answer those

10:07:33    8   nine questions for us.

10:07:34    9             So with that, we'll begin with Panel Member No. 1,

10:07:40   10   and we'll ask our Court Security Officer, Mr. Johnston, to

10:07:42   11   take the microphone to Panel Member No. 1.

10:07:45   12             JUROR BOUZEK:    Good morning.      My name is Charles

10:07:53   13   Bouzek.     I live in Diana, Texas.     I have two grown sons.

10:07:58   14   My place of employment is Sabine Mining company -- or

10:08:01   15   actually coal mining company, obviously.          I'm operation

10:08:05   16   supervisor with them.      I've been with them for 36 years.

10:08:09   17             My educational background is I am a high school

10:08:13   18   graduate.     I have an A and P license, which is an Airframe

10:08:18   19   and Powerplant license which I acquired through St. Louis

10:08:24   20   University.     It's also where I'm from.

10:08:26   21             My spouse's name is Kathleen Kay.         She's a

10:08:30   22   seamstress, and she's done that work for many years, and

10:08:33   23   she works out of our home.

10:08:36   24             And I -- prior jury services, I've sat on one

10:08:41   25   criminal case, and that's the extent of it.
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10:08:46    1            THE COURT:     Where was that criminal case, sir, and

10:08:48    2   how long ago was it?

10:08:49    3            JUROR BOUZEK:     It's approximately about 15 years

10:08:51    4   ago; Upshur County.

10:08:52    5            THE COURT:     Thank you.     If you'll hand the mic to

10:08:55    6   Ms. Jones, Panel Member No. 2.

10:08:56    7            JUROR JONES:     Hello.     Cheryl Jones.     I live in

10:09:00    8   Gilmer, Diana school district.

10:09:03    9            THE COURT:     Ms. Jones, hold the microphone a

10:09:05   10   little closer.

10:09:06   11            JUROR JONES:     I'm sorry.

10:09:06   12            THE COURT:     Thank you.

10:09:08   13            JUROR JONES:     Cheryl Jones, Gilmer, Texas.         I have

10:09:09   14   one child.   I'm employed at Christus DeHaven Eye Center.

10:09:15   15   I've been there about 17 years.        My education is high

10:09:18   16   school and some college certifications.

10:09:21   17            Spouse is Danny Jones.        He works for East Texas

10:09:25   18   Machine Works.    He's been there about 25 years.

10:09:28   19            And my prior would be criminal case, and I'm not

10:09:33   20   sure how long ago that was.

10:09:35   21            THE COURT:     It's been quite a few years?

10:09:37   22            JUROR JONES:     It has.

10:09:38   23            THE COURT:     Thank you, ma'am.

10:09:39   24            Next is No. 3, Ms. Harris.

10:09:42   25            JUROR GAYLE HARRIS:        Good morning.    My name is
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10:09:44    1   Gayla Harris.    And I live in Pittsburg.        I have three grown

10:09:46    2   sons.    I'm semi-retired.     I worked at Lakeside Baptist

10:09:54    3   Church in Canton, Texas, for 10 years.          I have an Associate

10:09:58    4   of Arts degree in business.

10:10:00    5             My spouse's name is Kyle Harris.         And he is a

10:10:03    6   captain for the Mesquite Fire Department in Mesquite,

10:10:06    7   Texas.    And he's been there close to 20 years.

10:10:09    8             And I have no prior jury service.

10:10:10    9             THE COURT:     All right.    Thank you, ma'am.

10:10:11   10             Next is Panel Member No. 4.

10:10:14   11             JUROR JOHNS:     My name is Travis Johns.       I live in

10:10:17   12   Hughes Springs, Texas.       I have two children.      One is a

10:10:21   13   senior in high school, one is a sophomore.           I work for

10:10:24   14   Christus Good Shepherd as a registered nurse.            I also work

10:10:27   15   at UT Health in their Trauma Unit.         Christus, I work in the

10:10:34   16   surgical oncology.     A little over a year on both.          I have

10:10:36   17   my Associate's degree in nursing.         I'm working on my

10:10:38   18   Bachelor's right now.

10:10:40   19             My wife's name is Melissa Jones.         She's a dental

10:10:44   20   hygienist for East Texas Children's Dentistry in

10:10:45   21   Mt. Pleasant.    She's worked there a little over 10 years.

10:10:47   22             And I served on one jury case, and that was a

10:10:49   23   criminal.

10:10:50   24             THE COURT:     All right.    Thank you, sir.

10:10:55   25             No. 5 is next, Ms. Fisher.
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10:10:55    1            JUROR FISHER:     My name is Pamela Fisher.         I have

10:10:58    2   two grown children.     I also have a stepdaughter who is

10:11:01    3   grown.   I'm currently not employed, thinking of -- retiring

10:11:06    4   is my status is what it should be.         I was a nurse, and I've

10:11:11    5   been a nurse since '96.      I went to high school here in

10:11:16    6   Marshall.    I graduated from Kilgore Junior College.

10:11:21    7            My spouse is Richard Fisher.         He's also retired.

10:11:25    8   And he's retired from a mining company in Tatum.            He worked

10:11:32    9   there for 35 years.

10:11:34   10            And I have had prior jury service.          One was a

10:11:38   11   mental incompetency case, and I've also been here in this

10:11:44   12   court.   And I don't know what kind of case you would call

10:11:47   13   it, but...

10:11:49   14            THE COURT:     How long ago was that that you

10:11:50   15   appeared in this court and served on a jury?

10:11:53   16            JUROR FISHER:     I don't know, six or seven years

10:11:55   17   ago.

10:11:55   18            THE COURT:     Okay.   Thank you, ma'am.

10:11:59   19            All right.     Next is Mr. Meade, No. 6.

10:12:02   20            JUROR MEADE:     Name is Jeffery Meade.        I live in

10:12:04   21   Naples, Texas.    I have one eight-year-old son.          Currently

10:12:09   22   employed with Sandlin Chevrolet in Mt. Pleasant, body shop

10:12:16   23   estimator.    Been there right at 10 years.         I have an

10:12:20   24   Associate's degree in accounting from NTCC.

10:12:23   25            My wife is Holly Meade.        She's retired --
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10:12:27    1   medically retired Air Force and currently employed with Mt.

10:12:32    2   Pleasant ISD as a computer technician.          Been there -- she's

10:12:35    3   fixing to be there 10 years, as well.

10:12:36    4              One criminal drug case in Titus County.

10:12:39    5              THE COURT:     How long ago was that, sir?

10:12:42    6              JUROR MEADE:     Seven, eight years.

10:12:43    7              THE COURT:     All right.   Thank you very much.

10:12:46    8              Next is No. 7.

10:12:48    9              JUROR NILSSON:     Good morning.    My name is Aaron

10:12:50   10   Nilsson.     I'm from Daingerfield, Texas.       I have three

10:12:53   11   children, an 11-year-old daughter, 12-year-old daughter,

10:12:57   12   15-year-old son.     I work at WOI Petroleum, where my mother

10:13:01   13   and I started the company in '98 and sold it in 2016, so I

10:13:07   14   work for the -- the new owner.         I have a high school

10:13:09   15   education.

10:13:10   16              My wife's name is Meredith Nilsson.         She owns and

10:13:15   17   operates a salon in downtown Daingerfield.           And she bought

10:13:15   18   that from the previous owner in '13.

10:13:18   19              And I have no prior service as far as jury is

10:13:20   20   concerned.

10:13:21   21              THE COURT:     Thank you, sir.

10:13:21   22              And we'll ask the Court Security Officer to carry

10:13:24   23   the microphone around to Panel Member No. 8, Ms. McDonald.

10:13:29   24              JUROR MCDONALD:     My name is Karen McDonald.        I

10:13:33   25   live in Hallsville, Texas.       I have no children.       I'm
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10:13:36    1   retired.    I used to work at Blue Cross Blue Shield as a

10:13:39    2   claims examiner.     I worked there for 12 years.         High school

10:13:43    3   graduation -- graduate.

10:13:44    4              My spouse's name is John McDonald.        He is retired

10:13:47    5   from LeTourneau.     He used to be an application engineer.

10:13:52    6   He worked there for about 12 years.         And I've served on one

10:13:55    7   jury here in district -- in this courthouse back in '84,

10:14:00    8   '85.

10:14:01    9              THE COURT:   That's fine.      That long ago, it

10:14:04   10   doesn't matter.    If you'll pass the microphone to No. 9.

10:14:10   11              JUROR MANNING:    Hi.     My name is Rose Manning.      I

10:14:13   12   live in Elysian Field, Texas, off of 31.          I have no kids.

10:14:20   13   I work at Genpak Corp. -- cups -- plastic plates and cups.

10:14:28   14   That's what I work with.        I've been there for 10 years.           I

10:14:31   15   had a high school education.

10:14:36   16              My spouse name, Willie Manning.        He retired from

10:14:39   17   Tyson Foods in Carthage.

10:14:43   18              I have no other --

10:14:46   19              THE COURT:   No jury service, ma'am?

10:14:47   20              JUROR MANNING:    No.

10:14:48   21              THE COURT:   Okay.      Thank you.

10:14:49   22              Next is No. 10, Ms. Walker.

10:14:52   23              JUROR WALKER:    My name is Laney Walker.        I live in

10:14:55   24   Daingerfield, Texas.       I have one son, and currently

10:14:58   25   pregnant with our second child.         I work at Healthcare
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10:15:01    1   Express.     It's an urgent care clinic.       I'm a registered

10:15:05    2   nurse.     I've worked there for about five years.         I have two

10:15:09    3   Associate's degrees from NTCC in Mt. Pleasant.

10:15:13    4              My husband's name is Cameron Walker.         He currently

10:15:13    5   works for the City of Marshall as a firefighter paramedic.

10:15:18    6   Been there for about four years.        And I have no prior jury

10:15:19    7   services.

10:15:20    8              THE COURT:   All right.     Thank you, ma'am.

10:15:21    9              Next is No. 11, Mr. Rankin.

10:15:24   10              JUROR RANKIN:     My name is -- excuse me -- my name

10:15:28   11   is Josh Rankin.     I have six kids.      I'm divorced.     I have

10:15:34   12   three with my first wife and three with my second wife.                 My

10:15:36   13   oldest is 18, and I have twin nine-month-olds at home.               So

10:15:40   14   anyways, I'm -- I'm from Hallsville.         I work at Hallsville

10:15:45   15   at the high school.     I coach and teach.       I've been there

10:15:48   16   for three years.     I got my Master's and Bachelor's at

10:15:54   17   Southern Arkansas University.

10:15:55   18              My wife's name is Christi, and she's -- currently

10:15:58   19   is staying at home, but she has worked as a doctor's

10:16:00   20   assistant.

10:16:04   21              And this is my -- I have no prior service.

10:16:08   22              THE COURT:   All right, sir.      Thank you.

10:16:09   23              No. 12 is next.

10:16:10   24              JUROR KASSIDY HARRIS:     My name is Kassidy Harris.

10:16:15   25   I live in Pittsburg, Texas.       I don't have any kids.        I'm a
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10:16:20    1   missions and discipleship pastor at First Baptist Church in

10:16:24    2   Pittsburg.   I've worked there about six-and-a-half years.

10:16:24    3   I have a high school education, a Bachelor's degree, and

10:16:29    4   Master's degree.

10:16:30    5             My spouse's name is Codi CheyAnne Harris.           She's a

10:16:34    6   labor and delivery nurse at Titus Regional, and she's

10:16:38    7   worked there about five years.        And I have never served on

10:16:41    8   a jury.

10:16:41    9             THE COURT:    Thank you.

10:16:41   10             No. 13 is next, Mr. Richardson.

10:16:46   11             JUROR RICHARDSON:     Good morning, David Richardson.

10:16:47   12   I live here in Marshall.      I have two grown children and

10:16:51   13   three step grown children.       I don't like the word "step."

10:16:55   14   They're my children.      I worked at Eastman Chemical in

10:17:00   15   Longview for 40 years.      And I -- I have a high school

10:17:04   16   education.

10:17:04   17             My wife is Kerry Richardson.        She's a registered

10:17:09   18   nurse here at Christus Good Shepherd for 16 years.

10:17:11   19             And I have served on a criminal case, probably six

10:17:13   20   to eight years ago.

10:17:14   21             THE COURT:    Where was that, sir?

10:17:15   22             JUROR RICHARDSON:     It was here in Harrison County.

10:17:17   23             THE COURT:    All right.     Thank you very much.

10:17:18   24             Ms. Pate is next, No. 14.

10:17:21   25             JUROR PATE:    Lara Pate.     I'm from Naples and I
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10:17:24    1   have three kids.     I work at Pewitt CISD.       I've been there

10:17:29    2   for three years.     Well, no, that's my second year back

10:17:33    3   there, sorry.

10:17:34    4            THE COURT:     What do you do at Pewitt?

10:17:36    5            JUROR PATE:     I teach second grade.

10:17:38    6            THE COURT:     Thank you.

10:17:40    7            JUROR PATE:     I have a Master's in special

10:17:42    8   education.

10:17:43    9            My husband is Adam Pate, and he's a rural mail

10:17:49   10   carrier for Omaha for about three years.

10:17:52   11            And I have never served on a jury.

10:17:54   12            THE COURT:     All right.     Thank you.

10:17:55   13            And we'll ask the Court Security Officer to carry

10:17:58   14   the mic around to Panel Member No. 15, Ms. Shepard.

10:18:01   15            JUROR SHEPARD:      My name is Christie Shepard.         I

10:18:04   16   live here in Marshall.      I have two teenage children.         I

10:18:07   17   work for Texas Health and Human Services Commission as a

10:18:11   18   case manager.    I have worked there for 25 years.          I have a

10:18:15   19   Bachelor of Science degree from East Texas Baptist

10:18:18   20   University here in Marshall.

10:18:19   21            My spouse is Jason Shepard.         He is a draftsman for

10:18:24   22   MTX Surveying here in Marshall, recently started there.

10:18:29   23   They merged with his previous employer ArkLaTex Surveying.

10:18:36   24            I served on a criminal case probably seven or

10:18:40   25   eight years ago here in Harrison County.
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10:18:40    1              THE COURT:   Thank you, ma'am.      No. 16 is next.

10:18:43    2              JUROR HILGENFELD:     Hi I'm Karen Hilgenfeld.        I

10:18:46    3   live in Omaha.    I work for Cable Interiors, which is a --

10:18:54    4   and I worked for them about 20 years.          I do the finances.

10:18:58    5   We do data and voice cabling, and I'm not sure if this is

10:19:03    6   appropriate, I need to say that 90 percent of our income

10:19:07    7   and our major customer is Wells Fargo.

10:19:15    8              THE COURT:   That will come out.

10:19:16    9              JUROR HILGENFELD:     So I've worked there about 20

10:19:22   10   years.

10:19:22   11              THE COURT:   What about education?

10:19:24   12              JUROR HILGENFELD:     I am a high school dip -- I

10:19:28   13   have my high school diploma.       I've had some accounting in

10:19:31   14   college.

10:19:32   15              My spouse is Walter Hilgenfeld.        He lives in Omaha

10:19:37   16   also.    And he is a retired AT&T employee for about the last

10:19:44   17   seven years.

10:19:44   18              And I was on a criminal case in Dallas about 20

10:19:53   19   years ago.

10:19:53   20              THE COURT:   All right.     Thank you, ma'am.

10:19:55   21              No. 17 is next, Ms. Brown.

10:19:57   22              JUROR TRACEY BROWN:     My name is Tracey Brown, and

10:19:59   23   I am from Longview, Texas.       I have two children.       I am the

10:20:03   24   department supervisor of the Home Depot.          I have worked

10:20:08   25   there for almost 17 years.       I have some college.
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10:20:12    1            I have no spouse.

10:20:13    2            And I've never had any prior jury service.

10:20:17    3            THE COURT:     Okay.   Thank you, ma'am.       No.

10:20:20    4            18, Mr. Allbritton.

10:20:22    5            JUROR ALLBRITTON:      Henry Allbritton.       I live in

10:20:24    6   Gilmer, Texas.     I have two children.       I own Allbritton

10:20:28    7   Timber in Gilmer for the last 20 years.          I have a 12th

10:20:34    8   grade education.

10:20:35    9            I have no spouse.

10:20:37   10            And I've never served on a jury before.

10:20:38   11            THE COURT:     All right.     Sir.   Thank you.

10:20:40   12            Next will be Panel Member No. 19, Mr. Pickens.

10:20:46   13            JUROR PICKENS:      My name is Paul Pickens.         I have

10:20:49   14   four children total.      Place of employment currently is

10:20:54   15   Steel Line Rail Service where we do railcar inspections.

10:20:58   16   I've been there with them about nine months now.              I have a

10:21:02   17   high school education.

10:21:03   18            My spouse's name is Amy Pickens.          She works at

10:21:06   19   Trinity Rail in Longview as a recruiter.          She's been there

10:21:11   20   about five years now.

10:21:14   21            And I have no prior jury service.

10:21:15   22            THE COURT:     Thank you, sir.

10:21:18   23            Next is No. 20, Mr. Staley.

10:21:22   24            JUROR STALEY:     Hi, my name is Mervin Staley.          I

10:21:26   25   live in Bloomburg, Texas.       I have two children and a
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10:21:27    1   stepchild.     They're all grown.      I've worked at Mid South

10:21:31    2   Distributing for 19 years in Texarkana.          I have a high

10:21:35    3   school diploma.

10:21:36    4              My wife is a RN.     Her name is Lisa Staley.       She

10:21:43    5   works from home for an insurance company, and it just left

10:21:43    6   my mind what the name of the insurance company is but...

10:21:45    7              And I have no prior jury service.

10:21:48    8              THE COURT:     All right, sir.

10:21:49    9              No. 21 is next.

10:21:50   10              JUROR MAWER:     Nathan Mawer.    I live in Hallsville.

10:21:55   11   I have three kids.       I work for Weatherford International.

10:21:59   12   I'm the East Texas/North Louisiana operation's manager, I

10:22:03   13   also have a small home building company.          I've been at

10:22:07   14   Weatherford almost eight years.         I've got a Bachelor's

10:22:12   15   degree in business management, minor in construction

10:22:15   16   science.

10:22:15   17              My wife's name is Caitlin Mawer.         She's a

10:22:19   18   stay-at-home mom.       And I have no prior jury service.

10:22:22   19              THE COURT:     All right.   Thank you.

10:22:23   20              No. 22 is next, Mr. Neeley.

10:22:26   21              JUROR NEELEY:     Yes, my name is Chad Neeley.        I'm

10:22:29   22   from Pittsburg, Texas.       I have one daughter that's 17

10:22:34   23   months old.     I work for Pittsburg ISD as an ag science

10:22:40   24   teacher.     I've been there for roughly going on four years

10:22:43   25   now.   My degree is agriculture business from Texas A&M
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10:22:47    1   University at Commerce.

10:22:49    2            My spouse's name is Lindsey Neeley.           She's a

10:22:52    3   teacher, as well.     She's been there teaching for 11 years

10:22:56    4   now.

10:23:00    5            And I went through a criminal jury selection, but

10:23:04    6   the case didn't go to trial.

10:23:07    7            THE COURT:     All right, sir.      Thank you.

10:23:09    8            No. 23 is next, Ms. Mize.

10:23:12    9            JUROR MIZE:     I'm Atrelle Mize.      I live in

10:23:19   10   Longview.    I have five children.      They're all grown.          I

10:23:21   11   currently work for a home health agency in Henderson, but I

10:23:26   12   retired from Good Shepherd in Longview after 44 years.                   I

10:23:30   13   graduated from Methodist School of Nursing in Dallas.

10:23:34   14            And I'm a widow.

10:23:36   15            And I have no prior jury service.

10:23:38   16            THE COURT:     Thank you, ma'am.

10:23:39   17            We'll pass that microphone to Panel Member No. 24,

10:23:48   18   Mr. Terry.

10:23:49   19            JUROR TERRY:     My name is Cooper Terry.        I have a

10:23:52   20   Gilmer address, but all the activities that we do are in

10:23:54   21   Longview; work, school, and all that.          I have three boys;

10:23:56   22   20, 18, and 14.     I work at a company called Fastenal.                I've

10:24:00   23   been there for 27 years.      I'm a district manager.         And

10:24:04   24   I've -- I've done that for 17.        I graduated from SFA in

10:24:11   25   '91.   I have a BBA in finance.
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10:24:11    1             My wife is Debbie Terry.       She's in education.        She

10:24:14    2   works at the central office at Longview ISD -- or, excuse

10:24:18    3   me, Pine Tree ISD -- that was a bad thing -- Pine Tree ISD,

10:24:22    4   and she's been there for about 26 years.

10:24:25    5             And I've served on a traffic court one time back

10:24:27    6   in Longview about 15 years ago.

10:24:29    7             THE COURT:    All right.     Thank you.    If you'll pass

10:24:31    8   the microphone to No. 25.

10:24:33    9             JUROR STOBAUGH:     Good morning.     My name is Linda

10:24:35   10   Sue Stobaugh.     I live on the outskirts of Marshall.          I have

10:24:35   11   one grown daughter, three grandchildren, two grown

10:24:43   12   stepchildren with four grandchildren.          I have retired from

10:24:48   13   the medical field.     I worked at East Texas Baptist -- East

10:24:52   14   Texas Border Health Clinic.       We opened the doors in 2004.

10:24:56   15   I am now working for myself.       I'm a Mary Kay beauty

10:25:01   16   consultant, independent.

10:25:03   17             My education, I graduated from Marshall High

10:25:06   18   School.     I went to the Oscar B Jones nursing school here in

10:25:11   19   Marshall.     Also, took accounting principle I and II at

10:25:18   20   Harris County Community College in Houston.

10:25:20   21             My spouse's name is Jerry W. Stobaugh, Sr.           He

10:25:26   22   worked for the Union Pacific for 38 years before he

10:25:29   23   retired, and then it became Union Pacific.

10:25:32   24             And I have never served.

10:25:33   25             THE COURT:    All right.
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10:25:37    1            JUROR STOBAUGH:      Thank you.

10:25:38    2            THE COURT:     Thank you, ma'am.      Next is No. 26,

10:25:40    3   Ms. Black.

10:25:40    4            JUROR BLACK:     My name is Lorie Black.        I live here

10:25:42    5   in Marshall, Texas.     I have two grown children. I am a real

10:25:45    6   estate agent for Century 21, and I've been there for about

10:25:49    7   a year -- four years, I'm sorry.        I have some college with

10:25:52    8   some real estate certification.

10:25:54    9            My spouse's name is Kenny Black.           He works for

10:25:58   10   LATX, which is an oil and gas operation's company.             He is

10:26:01   11   the general manager there, and he's been there for about a

10:26:04   12   year.

10:26:05   13            And I have no prior jury service.

10:26:06   14            THE COURT:     Thank you, ma'am.

10:26:07   15            No. 27, Ms. Callaway.

10:26:10   16            JUROR CALLAWAY:      My name is Kim Callaway.        I live

10:26:13   17   in Queen City, and I have two grown children.            I work at

10:26:18   18   Queen City ISD as a second grade teacher.           I've been there

10:26:21   19   for 24 years.    I have a Bachelor's degree from Texas A&M in

10:26:27   20   Texarkana.

10:26:27   21            I have no spouse.

10:26:29   22            And I have no prior jury service.

10:26:33   23            THE COURT:     All right.     Thank you.

10:26:35   24            And No. 28, Ms. Brown.

10:26:37   25            JUROR ALANA BROWN:       My name is Alana Brown.        I
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10:26:40    1   live in Diana.    I have two 19-year-old sons who are working

10:26:45    2   on being grown.     I work for Pace Opportunity Centers in

10:26:48    3   Longview as a case coordinator.        I've worked there for

10:26:51    4   about two months.     I have a Bachelor's degree in business

10:26:54    5   and management from NC State.

10:26:57    6            My spouse's name is Jim Brown.         He works for

10:27:00    7   SWEPCO AEP as a substation supervisor.          He's worked for AEP

10:27:06    8   for over 25 years.

10:27:07    9            I served on a criminal case, I believe it was, it

10:27:11   10   was about 2005 in Ohio.

10:27:13   11            THE COURT:     All right.     Thank you, ma'am.

10:27:14   12            Thank you, ladies and gentlemen.

10:27:19   13            Now, I need to tell you a couple more things

10:27:21   14   before I turn the questioning over to the lawyers.

10:27:24   15            The jurors that are actually selected to serve in

10:27:27   16   this case will serve in the role as the judges of the

10:27:31   17   facts.   And the jurors selected will make the sole

10:27:34   18   determination about what the facts are in this case.

10:27:37   19            Now, my job as the Judge is to rule on questions

10:27:41   20   of law, evidence, procedure, to maintain the decorum of the

10:27:46   21   courtroom, and to oversee an efficient flow of the trial

10:27:48   22   and the evidence.

10:27:49   23            Also, I want to say a couple things to you about

10:27:52   24   our judicial system that hopefully will put things in a

10:27:56   25   proper perspective for each of you.
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10:27:57    1            In every jury trial, besides the actual parties

10:28:02    2   themselves, there are always three participants, the jury,

10:28:06    3   the judge, and the lawyers.

10:28:08    4            With regard to the lawyers, I think it's important

10:28:10    5   for each of you to understand that our American judicial

10:28:14    6   system is an adversary system, which simply means that

10:28:19    7   during a trial, each of the parties will seek to present

10:28:22    8   their respective cases to the juries -- to the jury in the

10:28:26    9   very best light possible.

10:28:27   10            Now, it's no surprise to any of you that lawyers

10:28:31   11   are sometimes criticized in the public and in the media,

10:28:34   12   but the Court's observed that at least some of that

10:28:37   13   criticism is a result of a basic misunderstanding about our

10:28:41   14   adversary system in which the lawyers act as advocates for

10:28:46   15   the competing parties.

10:28:48   16            And as an advocate, a lawyer is ethically and

10:28:51   17   legally obligated to zealously assert his or her client's

10:28:56   18   position under the rules of our adversary system.             And by

10:29:00   19   presenting the best case possible on behalf of their

10:29:03   20   clients, the lawyers hopefully will enable the jury to

10:29:09   21   better weigh the relevant evidence, to determine the truth,

10:29:12   22   and to arrive at a just verdict based on that evidence.

10:29:15   23            Now, this system of justice, this adversary

10:29:19   24   system, has served our nation well for over 200 years, and

10:29:22   25   America's lawyers have been and will continue to be an
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10:29:25    1   indispensable part of the process.

10:29:29    2              So as we go forward, even though it's possible

10:29:31    3   over the course of the trial you may see me frown or even

10:29:36    4   growl at the lawyers from time to time, it's simply because

10:29:38    5   I'm trying to make sure that their advocacy doesn't get

10:29:42    6   outside the boundaries of our adversary system.            But you

10:29:45    7   should keep in mind, they are doing their jobs, and I think

10:29:49    8   it's important for all of you to be aware of that as we go

10:29:52    9   forward.

10:29:52   10              Also, ladies and gentlemen, over the course of the

10:29:54   11   trial, I'm going to do my very best to make sure that none

10:29:58   12   of you that are on the jury have any idea about what I

10:30:02   13   think about the evidence in this case, because determining

10:30:07   14   what the facts are based on that evidence is the job of the

10:30:11   15   jury over the course of this trial.         It is not my job.

10:30:14   16              And those of you that are selected on the jury

10:30:16   17   should not take any expressions that you see or think you

10:30:21   18   see or any comments that you hear or think you hear from me

10:30:24   19   as being something to consider as a factor in making the

10:30:28   20   ultimate decision about what the facts are in this case.

10:30:31   21              Now, at this time, the lawyers will have an

10:30:35   22   opportunity to make their presentations and question the

10:30:38   23   members of the jury panel.

10:30:39   24              We'll begin with the Plaintiff.        Mr. Bunt, you may

10:30:43   25   address the panel on behalf of the Plaintiff.
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10:30:44    1            MR. BUNT:    Thank you, Your Honor.

10:30:47    2            THE COURT:     And you'd like a warning at five

10:30:49    3   minutes, correct?

10:30:50    4            MR. BUNT:    Yes, Your Honor.       When I have five

10:30:51    5   minutes left.    I appreciate it.

10:30:53    6            THE COURT:     All right.     You may proceed.

10:30:54    7            MR. BUNT:    Thank you, Your Honor.

10:30:54    8            Good morning, again, ladies and gentlemen.            As I

10:30:57    9   mentioned to you, my name is Chris Bunt.          It's my pleasure

10:31:00   10   to be here today representing the Plaintiff, USAA, in this

10:31:06   11   case.

10:31:06   12            You've graciously given us a lot of information

10:31:11   13   about yourselves.     We really appreciate that.         We

10:31:12   14   appreciate the jury questionnaire forms you've turned in.

10:31:12   15   I'll just briefly give you the same information about me.

10:31:15   16            I grew up in Hallsville.        I graduated from high

10:31:18   17   school there.    My wife, Celia, also graduated from high

10:31:21   18   school there.    We've been living in Tyler for the last 26

10:31:25   19   years.

10:31:27   20            I have a law practice over there, and Celia works

10:31:30   21   as the office manager at our firm.         We have two kids.       My

10:31:35   22   daughter is 17, and my son is 14.

10:31:38   23            And I have been called on a number of occasions

10:31:41   24   for jury service but have never actually been on a jury

10:31:44   25   panel.
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10:31:45    1             So you're going to hear a lot more about this case

10:31:49    2   as -- as the week progresses.        But I want to give you just

10:31:53    3   a very brief overview.

10:31:54    4             So this case involves two United States patents

10:31:59    5   that are owned by my client, USAA.         And these patents

10:32:05    6   relate to depositing checks using your smartphone or mobile

10:32:09    7   device.

10:32:09    8             So before this invention, if you wanted to deposit

10:32:14    9   a check, you'd go to the bank teller or to the ATM or you

10:32:18   10   might have one of these very expensive commercial check

10:32:21   11   scanners.

10:32:22   12             USAA invented the use of consumer devices, like

10:32:29   13   smartphones, enabling them to take high quality check

10:32:33   14   images so that the check could be deposited remotely and so

10:32:37   15   that fraud detection could be performed in a real-time

10:32:43   16   during the process.

10:32:43   17             So that's the case in a nutshell.         And we allege

10:32:46   18   that Wells Fargo is using our patented technology in their

10:32:50   19   own product.     In patent cases, this sort of trespassing on

10:32:54   20   property is called infringement.

10:32:58   21             Now, Wells Fargo denies that it is infringing or

10:33:01   22   trespassing on our property.       And, indeed, Wells Fargo also

10:33:05   23   claims even if it is infringing, the patents are invalid,

10:33:09   24   that is, that they should not have been issued by the

10:33:12   25   Patent Office.
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10:33:12    1            And then, finally, Wells Fargo claims even if it's

10:33:16    2   infringing, even if the patents are valid, they're really

10:33:20    3   not worth that much money.

10:33:22    4            So as His Honor told you, the purpose of voir dire

10:33:27    5   is to give us a chance to talk with you directly to see if

10:33:31    6   this is the right case for you, to see if you're starting

10:33:34    7   out with any life experiences, any likes or dislikes that

10:33:39    8   might make it difficult for you to sit on this jury.

10:33:41    9            So let me start with that.         In my experience, I've

10:33:43   10   found that, generally speaking, most people fall within two

10:33:51   11   groups when it comes to their attitudes about patents.

10:33:54   12            The first group, people are -- are people who

10:33:57   13   think that patents are a good thing, that they encourage

10:34:02   14   innovation, that innovation is a good thing to make

10:34:04   15   advances in products, that without patent protection, a lot

10:34:09   16   of research and development would not take place.             That's

10:34:15   17   Group No. 1, pro patent.

10:34:16   18            And then Group No. 2 are folks who believe that

10:34:20   19   patents should not be protected by law, that patents are

10:34:24   20   maybe an archaic system, that patents don't really make

10:34:27   21   sense, and it doesn't make sense to give a 20-year monopoly

10:34:31   22   when -- on -- on a patent when technology is changing so

10:34:37   23   rapidly these days; the thought being here with this group,

10:34:41   24   just because patents were a good idea when the Constitution

10:34:45   25   was being framed doesn't mean that they're still a good
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10:34:49    1   idea now.

10:34:49    2            Let me start on the first row -- actually let me

10:34:52    3   just start with you, Mr. Bouzek.

10:34:54    4            JUROR BOUZEK:     Bouzek.

10:34:55    5            MR. BUNT:    Bouzek.

10:34:57    6            JUROR BOUZEK:     Bouzek.

10:34:57    7            MR. BUNT:    Bouzek.     Mr. Bouzek.

10:34:59    8            JUROR BOUZEK:     It's Bouzek.

10:35:00    9            MR. BUNT:    Bouzek.

10:35:02   10            JUROR BOUZEK:     Correct.

10:35:03   11            MR. BUNT:    Okay.     Thank you, sir.

10:35:05   12            Which group do you think you'd fall in?            Do you

10:35:08   13   think you'd be more in Group 1, pro -- pro patent, or do

10:35:13   14   you think you'd fall more in the second category of not

10:35:16   15   thinking they're such a hot idea?

10:35:18   16            JUROR BOUZEK:     I would consider myself mainly in

10:35:19   17   the first group.

10:35:20   18            MR. BUNT:    All right.

10:35:21   19            And, Ms. Jones, right next to you, how do you feel

10:35:24   20   about that?

10:35:25   21            JUROR JONES:     I would say pro -- pro patent.

10:35:28   22            MR. BUNT:    Okay.     Is there anybody here in the

10:35:30   23   jury box -- let me just see a show of hands -- anybody who

10:35:33   24   feels like they would lean more toward Group No. 2, who

10:35:38   25   feel like maybe patents aren't such a hot idea in this day
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10:35:42    1   and time when technology is changing?          Anybody?

10:35:45    2            How about over here in the -- the -- outside the

10:35:47    3   jury box, is there anybody who feels that way?

10:35:50    4            If I could -- Mr. Johnston, if we could have the

10:35:58    5   microphone to Ms. Brown in the very back, Ms. Alana Brown.

10:36:07    6            Ms. Brown, I believe you mentioned in your

10:36:09    7   questionnaire form that you -- you had some concerns about

10:36:14    8   medical or maybe pharmaceutical patents.          Did I get that

10:36:16    9   right?

10:36:17   10            JUROR ALANA BROWN:       I don't remember exactly how I

10:36:19   11   answered.   I don't necessarily have any concerns.            I think

10:36:23   12   that other than potential of the price increasing because

10:36:30   13   of them -- of medication.

10:36:32   14            MR. BUNT:    Would that cause you to start out

10:36:33   15   leaning against patent owners -- anything about that?

10:36:38   16            JUROR ALANA BROWN:       No.

10:36:38   17            MR. BUNT:    Okay.    Is there anybody who feels like

10:36:41   18   they have some views about patents that would cause them to

10:36:44   19   start out leaning against patent owners?          I don't see any

10:36:48   20   hands.

10:36:49   21            Okay.   Mr. Johnston, if we could come back over to

10:36:51   22   the jury box.

10:36:52   23            Everybody has already heard, and you saw the

10:36:54   24   patent jury video this morning, you know from the patent

10:36:58   25   video that patents are pieces of property.           And when the
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10:37:03    1   Patent Office issues a patent, it's like a deed that is

10:37:06    2   being issued.

10:37:07    3              So could I see a show of hands in the jury box,

10:37:10    4   how many of you are land owners, whether you own a house or

10:37:15    5   whatever that your piece of land is sitting on?

10:37:17    6              Okay.   Let's just go to Ms. Harris -- Gayla

10:37:21    7   Harris -- No. 3, I apologize.

10:37:24    8              Ms. Harris, you own a piece of land?

10:37:28    9              JUROR GAYLE HARRIS:     Yes.

10:37:28   10              MR. BUNT:   And let me ask you this:        If an oil

10:37:30   11   company -- oil and gas company, let's say, is drilling on

10:37:34   12   your property without your permission, would you have any

10:37:38   13   discomfort about going to court to get them off your

10:37:41   14   property?

10:37:41   15              JUROR GAYLE HARRIS:     No, I would not.

10:37:42   16              MR. BUNT:   Okay.    Mr. Johns -- Mr. Travis Johns,

10:37:48   17   No. 4 --

10:37:48   18              JUROR JOHNS:   Yes, sir.

10:37:48   19              MR. BUNT:   -- how about the same question?

10:37:51   20              JUROR JOHNS:   No, I wouldn't -- I wouldn't like it

10:37:52   21   either.

10:37:52   22              MR. BUNT:   You don't have any discomfort about

10:37:55   23   going to court?

10:37:56   24              JUROR JOHNS:   No.

10:37:57   25              MR. BUNT:   Let me ask this:      Does anybody feel
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10:37:59    1   like intellectual property should be treated differently

10:38:04    2   than physical property, like a piece of land?            Anybody in

10:38:07    3   the jury box feel that way?

10:38:09    4            Okay.   I forgot to ask over here.         Outside the

10:38:13    5   jury box, is there anybody here who feels like, you know

10:38:16    6   what, I just don't feel comfortable with the idea of going

10:38:19    7   to court to protect property rights?         Anybody feel that

10:38:23    8   way?

10:38:23    9            Is there anybody over on this side who feels like

10:38:27   10   intellectual property, like a patent, should be treated

10:38:30   11   differently than physical property, like a piece of land?

10:38:34   12            Okay.   You're going to hear evidence during this

10:38:41   13   trial about damages, and we're going to put on a financial

10:38:45   14   expert who's going to explain to you the financial benefits

10:38:49   15   that Wells Fargo has received using our property.             And we

10:38:56   16   anticipate at the end of the trial asking you if you agree

10:39:00   17   that there's been infringement.        And if you agree with our

10:39:03   18   evidence, we're going to ask you to award $102.8 million.

10:39:09   19            And I'll just tell you that Wells Fargo has an

10:39:11   20   expert, a damage expert, who says even if they infringe,

10:39:14   21   even if the patents are valid, they wouldn't owe any more

10:39:18   22   than $3.9 million.

10:39:20   23            So my question is, how many of you here in the

10:39:22   24   jury box feel like no matter what the evidence is, even if

10:39:28   25   you were able to find infringement, there's just no way you
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10:39:30    1   could ever see yourself writing down a number of a hundred

10:39:34    2   million dollars?     Is there anybody here in the jury box who

10:39:37    3   feels that way?

10:39:38    4            Mr. Meade, No. 6, any issues at all with that?

10:39:47    5            JUROR MEADE:     No, sir.

10:39:47    6            MR. BUNT:    Okay.     Mr. Nilsson, how about you?

10:39:50    7            JUROR NILSSON:       I believe we have to look at all

10:39:53    8   sides, and, I mean, if it's -- if it's 3 -- 3 million or

10:39:58    9   102 million or something in the middle, you got to weigh it

10:40:01   10   all out like the Judge said earlier.

10:40:03   11            MR. BUNT:    Thank you, sir.       And let me -- I'll

10:40:05   12   just follow up with that.

10:40:06   13            If you could hand the microphone back.

10:40:07   14            I don't -- I'm not asking anybody here to commit

10:40:11   15   to awarding a hundred million dollars, but I just want to

10:40:13   16   know, if there's evidence to support that award, is there

10:40:16   17   anybody here who feels like they could not ever write down

10:40:20   18   that number?    Anybody in the jury box?

10:40:22   19            Anybody over here on this side of the courtroom

10:40:24   20   who feels like -- yes, ma'am, Ms. -- Ms. Hilgenfeld?

10:40:32   21            JUROR HILGENFELD:       Let me -- I just have a

10:40:36   22   question.

10:40:37   23            MR. BUNT:    Yes, ma'am.

10:40:38   24            JUROR HILGENFELD:       I mean, my concern is, doesn't

10:40:41   25   all banks do this -- the same?
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10:40:44    1              MR. BUNT:    Well, the issue is whether USAA has a

10:40:47    2   patent on it and whether Wells Fargo is using our patent

10:40:50    3   and benefitting from it.

10:40:51    4              JUROR HILGENFELD:    So it doesn't matter if any

10:40:54    5   other --

10:40:54    6              MR. BUNT:    No, ma'am.    So -- but I --

10:40:57    7              JUROR HILGENFELD:    So that's the -- that's one of

10:40:59    8   the reasons I would have.

10:41:00    9              MR. BUNT:    I appreciate that.

10:41:02   10              JUROR HILGENFELD:    And then --

10:41:02   11              THE COURT:    We're here -- we're here about this

10:41:04   12   Plaintiff and this Defendant.

10:41:06   13              JUROR HILGENFELD:    Okay.

10:41:06   14              THE COURT:    And what may happen with other

10:41:08   15   Plaintiffs and other Defendants is not a part of this

10:41:10   16   trial.

10:41:12   17              JUROR HILGENFELD:    Okay.     I just know that

10:41:13   18   different banks -- anyway.       That's -- that was my concern.

10:41:18   19              MR. BUNT:    Yes, ma'am.     While I've got you,

10:41:21   20   though --

10:41:21   21              JUROR HILGENFELD:    Okay.

10:41:21   22              MR. BUNT:    -- you very graciously gave us a pretty

10:41:25   23   good bit of information in your jury questionnaire form,

10:41:28   24   and I did actually write down some of that information.

10:41:31   25   You mentioned that Wells Fargo, the Defendant in this case,
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10:41:33    1   is a major customer of your employer.

10:41:36    2            JUROR HILGENFELD:      Yes, sir.

10:41:36    3            MR. BUNT:    And I think you just mentioned, they --

10:41:39    4   they account for about 90 percent of the revenues or income

10:41:42    5   of your company that you work for.

10:41:44    6            JUROR HILGENFELD:      Yes, sir.

10:41:45    7            MR. BUNT:    And I believe you said that they've

10:41:48    8   been a major customer for 20 years.

10:41:50    9            JUROR HILGENFELD:      At least 20 years.

10:41:52   10            MR. BUNT:    And I think you also said in your

10:41:54   11   questionnaire form you felt like it would be a conflict of

10:41:57   12   interest for you to serve on this jury.

10:41:58   13            JUROR HILGENFELD:      Yes, because I wasn't sure --

10:42:01   14            MR. BUNT:    No, that's fine --

10:42:02   15            JUROR HILGENFELD:      -- the way it was going.

10:42:04   16            MR. BUNT:    No, I -- I certainly appreciate it.

10:42:05   17   Let's just be frank, would it put you in a bad situation to

10:42:11   18   serve on this jury?

10:42:12   19            JUROR HILGENFELD:      I have reservations that way,

10:42:15   20   yes.

10:42:15   21            MR. BUNT:    Is my -- is my client starting off a

10:42:18   22   little bit behind of Wells Fargo simply because you deal

10:42:22   23   with Wells Fargo on a regular basis at your employment?

10:42:26   24            JUROR HILGENFELD:      Yes, sir.

10:42:27   25            MR. BUNT:    Thank you.     Would you find it a little
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10:42:29    1   hard to be fair and impartial to USAA, given your

10:42:32    2   particular situation?

10:42:33    3             JUROR HILGENFELD:     Possibility.      Probability --

10:42:37    4             MR. BUNT:   I'm sorry, what's the last thing you

10:42:40    5   said?

10:42:40    6             JUROR HILGENFELD:     Probability.

10:42:41    7             MR. BUNT:   Probability.

10:42:42    8             JUROR HILGENFELD:     Yeah, if I'm being honest

10:42:44    9   because -- I mean, I would be fair as much as I could --

10:42:50   10             MR. BUNT:   Yes, ma'am.

10:42:52   11             JUROR HILGENFELD:     -- and listen to everything,

10:42:52   12   but I just -- I'm uneasy with working for them and -- but I

10:43:01   13   have family that uses USAA --

10:43:02   14             MR. BUNT:   Yes, ma'am.

10:43:04   15             JUROR HILGENFELD:     -- so I don't know.

10:43:06   16             MR. BUNT:   Would it -- let me ask this:          Would it

10:43:07   17   be a difficult conversation for you to go back to the

10:43:11   18   office after a jury trial and say you had sat on a case and

10:43:16   19   you rendered a verdict against Wells Fargo?

10:43:18   20             JUROR HILGENFELD:     Yes, sir.

10:43:19   21             MR. BUNT:   Thank you.

10:43:20   22             JUROR HILGENFELD:     Because my name is on a lot of

10:43:22   23   checks.

10:43:23   24             MR. BUNT:   I -- I appreciate your candor.          I

10:43:24   25   really do.   Thank you, ma'am.
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10:43:26    1            JUROR HILGENFELD:      Thank you.

10:43:32    2            MR. BUNT:    I want to ask you some questions about

10:43:34    3   invalidity.     There's two different things you're going to

10:43:36    4   hear about in this trial, infringement and invalidity.              And

10:43:40    5   USAA, my client, has to prove infringement, that is, that

10:43:45    6   Wells Fargo is using our property without our permission.

10:43:47    7   And we have to prove that by a preponderance of the

10:43:49    8   evidence.     And that's a burden we gladly accept.

10:43:52    9            Wells Fargo, on the other hand, has the burden to

10:43:56   10   prove that the patents are invalid.         It's not our burden to

10:44:00   11   prove that the patents are valid.         It's their burden to

10:44:05   12   prove that they are invalid.       And the burden of proof that

10:44:08   13   they would have, if they want to do that, is to show by

10:44:12   14   clear and convincing evidence.

10:44:12   15            Now, His Honor told you a little bit ago,

10:44:16   16   preponderance of the evidence means tipping the scales,

10:44:18   17   clear and convincing evidence means a more substantial

10:44:21   18   burden of proof.

10:44:21   19            Is there anybody here -- and let's just start with

10:44:24   20   the jury box -- who feels like that is unfair that we get

10:44:28   21   to prove infringement by a preponderance of the evidence

10:44:35   22   but that Wells Fargo would have to prove invalidity by

10:44:37   23   clear and convincing, that there's a different burden of

10:44:40   24   proof for them?     Anybody have an issue with that?          Not

10:44:43   25   seeing any hands.
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10:44:44    1              Over here on this side of the courtroom, if the

10:44:48    2   Judge tells you that is the burden of proof, is there

10:44:50    3   anybody here who would just have difficulty with that

10:44:52    4   concept?

10:44:53    5              Okay.   Thank you.

10:44:54    6              Is -- I didn't tell you much, and you're going to

10:44:57    7   hear a lot more during the trial, but USAA, my client,

10:45:01    8   provides financial services to military and to military

10:45:04    9   families.    These services include -- you've probably heard

10:45:08   10   or seen insurance company ads for USAA, but they also

10:45:13   11   provide banking services.

10:45:14   12              Is there anybody here who has had a bad or

10:45:18   13   negative experience with USAA?        And let me start in the

10:45:22   14   jury box first?     Anybody?

10:45:25   15              Okay.   Over on this side, Mr. Mawer, Juror No. 21.

10:45:33   16              JUROR MAWER:   Yes.

10:45:33   17              MR. BUNT:   Thank you.     Did -- did you say that you

10:45:35   18   had a bad experience with USAA?

10:45:39   19              JUROR MAWER:   It was good up until -- and I think

10:45:41   20   everybody kind of went up on their rates to the point that

10:45:45   21   we went shopping, but that was it.         It wasn't -- it wasn't

10:45:48   22   anything on the services that they provided.           We had

10:45:50   23   insurance with our house and our automobiles.

10:45:53   24              MR. BUNT:   Okay.     All right.   Thank you, sir.      I

10:45:55   25   appreciate that.
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10:45:55    1            Is there anybody else who has had a negative

10:46:02    2   experience with USAA?

10:46:04    3            Okay.    Can I just see a show of hands, anybody

10:46:07    4   here on the jury panel who has worked at a bank?

10:46:10    5            Okay.    No. 10, Ms. Walker, and let me -- raise

10:46:16    6   your hands high, please.      No. 16, Ms. Hilgenfeld.

10:46:22    7            And then on the back, Ms. Lorie Black --

10:46:22    8            JUROR BLACK:     Yes.

10:46:25    9            MR. BUNT:    -- and then Ms. Brown.        Okay.    Thank

10:46:30   10   you.

10:46:30   11            Mr. Bouzek, on -- Juror No. 1, did you serve in

10:46:36   12   the military?

10:46:36   13            JUROR BOUZEK:     Yes, I did.

10:46:37   14            MR. BUNT:    And was that the Air Force?

10:46:39   15            JUROR BOUZEK:     Correct.

10:46:40   16            MR. BUNT:    And how long did you serve?

10:46:42   17            JUROR BOUZEK:     Four years.

10:46:43   18            MR. BUNT:    Okay.      Thank you for your service.         I

10:46:47   19   don't think you said anything about you have USAA, but do

10:46:50   20   you have any family members or friends who have USAA?

10:46:54   21            JUROR BOUZEK:     Not to my knowledge.

10:46:55   22            MR. BUNT:    Okay.      Can I see a show of hands --

10:47:00   23   thank you, sir.    I appreciate it.

10:47:02   24            How many of you have used a phone to deposit a

10:47:04   25   check before?
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10:47:07    1              Okay.   Juror -- if you don't mind, hold them up

10:47:10    2   again one more time.      Juror No. 3, 4, 7, 10, 11, and 14,

10:47:18    3   and then 15, 16, 17 -- is that No. 23?          Yes, ma'am.     And

10:47:26    4   24, 26, and 28.     Thank y'all very much.

10:47:31    5              The -- Wells Fargo is being represented by the

10:47:36    6   Winston & Strawn law firm.       Mr. Tom Melsheimer here is one

10:47:40    7   of the lawyers at that firm.       They have offices all over

10:47:43    8   the country, but his office is in Dallas.           I believe you're

10:47:46    9   going to hear from Ms. Williams -- Danielle Williams during

10:47:50   10   opening statement.

10:47:51   11              Is there anybody here who knows Mr. Melsheimer or

10:47:54   12   any of the other folks at Winston & Strawn?

10:47:57   13              Okay.   Wells Fargo is also represented by

10:48:03   14   Mr. Wesley Hill of the law firm of Ward Smith & Hill.

10:48:06   15   That's based in Longview.

10:48:08   16              Is there anybody here who knows Mr. Hill or has

10:48:12   17   had any dealings with his law firm?

10:48:13   18              Also, there's some folks at his firm.         I'll just

10:48:17   19   list them out.     Johnny Ward, Mr. T. John Ward, Mr. Bruce

10:48:22   20   Smith, Claire Henry, Andrea Fair, Brett Miller, and Wendi

10:48:29   21   Cavazos.     Anybody here know any of those individuals?

10:48:33   22              Mr. Mike Collins is also assisting them with jury

10:48:34   23   selection.     He's based in Tyler.     Is there anybody here who

10:48:36   24   knows Mr. Collins?

10:48:44   25              Okay.   Could I see a -- well, let me just start
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10:48:50    1   with Ms. Gayla Harris, Juror No. 3.

10:48:53    2            I believe you mentioned that you have -- that you

10:48:56    3   bank with Wells Fargo; is that right?

10:48:58    4            JUROR GAYLE HARRIS:       Yes.   My husband takes care

10:49:05    5   of all of our finances, so I'm trying to remember what we

10:49:10    6   have or if we currently still have...

10:49:13    7            MR. BUNT:    Let me just ask it like this:          Is there

10:49:16    8   anything about that experience that would start you off

10:49:18    9   leaning more towards Wells Fargo than USAA?

10:49:21   10            JUROR GAYLE HARRIS:       No, I didn't even actually

10:49:23   11   remember we had services with them.         And my husband said

10:49:26   12   yes, we do -- or we did, so I don't have any good or bad

10:49:31   13   experience.

10:49:31   14            MR. BUNT:    Thank you, ma'am.       I appreciate that.

10:49:33   15            Mr. Harris, Juror No. 12, did you indicate that

10:49:39   16   you have Wells Fargo banking?

10:49:42   17            JUROR KASSIDY HARRIS:       They just have my mortgage.

10:49:44   18            MR. BUNT:    All right.     How about that, you

10:49:48   19   understand I represent a company that is suing Wells Fargo,

10:49:52   20   you have Wells Fargo for your mortgage insurance company.

10:49:55   21   Is that going to start my client in a worse position than

10:50:03   22   Wells Fargo?    Are you going to start off leaning a little

10:50:06   23   bit more towards Wells Fargo?

10:50:08   24            JUROR KASSIDY HARRIS:       Absolutely no.

10:50:09   25            MR. BUNT:    Thank you, sir.       I appreciate that.
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10:50:11    1            Mr. Rankin, Juror No. 11, do you also have Wells

10:50:16    2   Fargo banking or have something to do with Wells Fargo?

10:50:19    3   Could you tell me --

10:50:19    4            JUROR RANKIN:     Yes, I have Wells Fargo banking.

10:50:21    5            MR. BUNT:    Same question to you, how does that

10:50:23    6   make you feel?

10:50:25    7            JUROR RANKIN:     I don't really have any personal

10:50:27    8   connection or feelings other than there's none around here.

10:50:29    9            MR. BUNT:    There's none --

10:50:31   10            JUROR RANKIN:     So I do use the picture -- you

10:50:33   11   know, the phone app.

10:50:35   12            MR. BUNT:    Well, let me ask --

10:50:36   13            JUROR RANKIN:     Very often.

10:50:38   14            MR. BUNT:    -- let me ask this:       Would you worry in

10:50:40   15   the back of your head whether if you were to find some sort

10:50:43   16   of verdict in favor of USAA that it might end up somehow

10:50:47   17   down the road costing customers like yourself more money?

10:50:51   18            JUROR RANKIN:     I wouldn't think so.

10:50:52   19            MR. BUNT:    All right.     Thank you, sir.      I

10:50:54   20   appreciate that.

10:50:54   21            Mr. Cooper Terry -- Mr. -- Juror No. 24, do you

10:51:06   22   bank with Wells Fargo also?

10:51:07   23            JUROR TERRY:     I just have a corporate credit card

10:51:13   24   that I -- it's a company card, so it's my expense card that

10:51:16   25   I use, but it's Wells Fargo.
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10:51:17    1              MR. BUNT:   Same question I asked Mr. Rankin, how

10:51:20    2   would that make you feel sitting on this jury?

10:51:22    3              JUROR TERRY:   No effect.

10:51:23    4              MR. BUNT:   Okay.   Thank you, sir.

10:51:25    5              Mr. Strube, do we have Mr. Strube on the -- okay.

10:51:32    6   Never mind.

10:51:32    7              Some of you had expressed some feelings -- strong

10:51:42    8   feelings about lawsuits in your questionnaires.

10:51:45    9              Mr. Mawer, Juror No. 21, I believe you indicated

10:51:49   10   that you don't like frivolous lawsuits.          Can you tell me a

10:51:53   11   little bit more about that.

10:51:54   12              JUROR MAWER:   Ones that really don't have any

10:51:56   13   merit.     I didn't know about this case, obviously, but

10:52:00   14   the -- somebody suing somebody for hot coffee or whatever

10:52:04   15   when it has a warning on it, that's pretty much the extent

10:52:06   16   of that.

10:52:07   17              MR. BUNT:   Well, you understand that you have a

10:52:10   18   feeling against what you consider to be frivolous lawsuits,

10:52:13   19   and I'm representing somebody who has brought a lawsuit.                I

10:52:16   20   certainly don't think there's anything frivolous about this

10:52:18   21   at all.

10:52:19   22              JUROR MAWER:   Okay.

10:52:20   23              MR. BUNT:   But am I starting off a little bit

10:52:22   24   behind in your mind simply because of those feelings you

10:52:25   25   have about --
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10:52:27    1             JUROR MAWER:    No, sir.

10:52:27    2             MR. BUNT:   -- lawsuits?      Thank you, sir.

10:52:30    3             Are there any others, let's say, in the jury box

10:52:33    4   that have strong feelings about lawsuits that would make it

10:52:38    5   difficult for you to sit on this jury panel?           Anybody?

10:52:40    6             How about over on this side?

10:52:42    7             Is there anybody on the jury panel over here -- on

10:52:54    8   the jury box who -- who has applied for a patent or has a

10:52:57    9   family member or a friend who has applied for a patent?

10:53:01   10             Yes, ma'am, Ms. Fisher, you said your stepson, I

10:53:07   11   believe; is that right?

10:53:08   12             JUROR FISHER:    Yes, sir.

10:53:09   13             MR. BUNT:   Can you tell me what -- what sort of

10:53:11   14   patent that was about?

10:53:13   15             JUROR FISHER:    It was something -- he worked for

10:53:14   16   the government.    It was something that was top secret.            So

10:53:18   17   I really don't know a lot about that.

10:53:21   18             MR. BUNT:   Okay.    Was he able to obtain the

10:53:23   19   patent?

10:53:24   20             JUROR FISHER:    I don't remember exactly how that

10:53:26   21   came out, if the government patented it or if he was

10:53:29   22   actually the one that got to patent it.

10:53:31   23             MR. BUNT:   Okay.    Anything about that experience

10:53:33   24   that'd make it hard to sit on this panel?

10:53:37   25             JUROR FISHER:    None.
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10:53:37    1              MR. BUNT:   Thank you.

10:53:38    2              Ms. -- Ms. Sheryl Redmon -- no, okay.

10:53:45    3              Is there anybody else who has applied for a patent

10:53:48    4   or has a family member or a friend who has applied for a

10:53:52    5   patent or obtained a patent?        Is there anybody here who

10:53:56    6   works for companies that own patents?

10:54:01    7              Yes, sir, Mr. Mawer, remind me where you work.

10:54:06    8              JUROR MAWER:    Weatherford International, it's an

10:54:08    9   oil and gas company.

10:54:09   10              MR. BUNT:   Okay.   Do you know how they enforce

10:54:11   11   their property rights, their patent rights?

10:54:13   12              JUROR MAWER:    I don't.    I've never been involved

10:54:15   13   in it.

10:54:16   14              MR. BUNT:   Okay.   Thank you.

10:54:17   15              Is there anybody here who has ever been sued?

10:54:21   16   Let's see, in the jury box, ever been a Defendant in a

10:54:24   17   lawsuit?    How about over on this side?        Anybody?

10:54:28   18              Okay.   Mr. Bouzek, your niece -- I keep coming

10:54:35   19   back to you, Juror No. 1.       Your niece, you indicated, has a

10:54:37   20   law degree; is that right?

10:54:38   21              JUROR BOUZEK:    That's correct.

10:54:41   22              MR. BUNT:   And where does she work, if you know?

10:54:44   23              JUROR BOUZEK:    I don't know right now.

10:54:46   24              MR. BUNT:   Okay.   Do you know what kind of law she

10:54:49   25   does?
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10:54:49    1             JUROR BOUZEK:    Has a medical nature to it.

10:54:53    2             MR. BUNT:   Okay.      I take it there's nothing about

10:54:55    3   that that will make it hard to sit on this jury?

10:54:57    4             JUROR BOUZEK:    No, sir.

10:54:58    5             MR. BUNT:   Okay.      Ms. Fisher, Juror No. 5, I may

10:55:04    6   have written this down wrong, but did you say that your

10:55:08    7   stepdaughter works at a law office?

10:55:10    8             JUROR FISHER:    She did when she was in high

10:55:12    9   school.

10:55:12   10             MR. BUNT:   Okay.

10:55:13   11             JUROR FISHER:    She -- she doesn't now.

10:55:14   12             MR. BUNT:   That doesn't have any bearing; is that

10:55:15   13   right?

10:55:16   14             JUROR FISHER:    Right.

10:55:16   15             MR. BUNT:   Okay.      Thank you.

10:55:17   16             Mr. -- no, let's see, Ms. Cheryl Jones, sorry,

10:55:28   17   Juror No. 2, yes, ma'am.      Your daughter, does she work at a

10:55:32   18   law firm?

10:55:32   19             JUROR JONES:    Yes.

10:55:33   20             MR. BUNT:   Which law firm is that?

10:55:36   21             JUROR JONES:    In Longview, Randy Akin.

10:55:37   22             MR. BUNT:   Okay.      What does she do there for him?

10:55:39   23             JUROR JONES:    She's a paralegal.

10:55:40   24             MR. BUNT:   Okay.      How long has she done that?

10:55:42   25             JUROR JONES:    She's done it for 15, something like
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10:55:45    1   that.

10:55:45    2              MR. BUNT:    Okay.      Thank you, ma'am.    I sure

10:55:47    3   appreciate that.

10:55:49    4              THE COURT:     You have five minutes remaining,

10:55:51    5   counsel.

10:55:51    6              MR. BUNT:    Thank you, Your Honor.

10:55:51    7              Are there any jurors here who know one another or

10:55:56    8   who may be related to one another?          You'd be surprised how

10:56:01    9   often that shows up.

10:56:05   10              Sorry, yes, sir, No. 6?

10:56:09   11              JUROR MEADE:     Yes.

10:56:10   12              MR. BUNT:    Tell me who you know.

10:56:12   13              JUROR MEADE:     That'd be No. 14 back here,

10:56:16   14   Ms. Pate.

10:56:17   15              MR. BUNT:    And how do you -- is it Mr. Richardson

10:56:19   16   that you know --

10:56:19   17              JUROR MEADE:     No.

10:56:20   18              MR. BUNT:    -- or, no --

10:56:22   19              JUROR MEADE:     Ms. Pate.

10:56:23   20              MR. BUNT:    Ms. Pate.      I apologize.    How do you

10:56:27   21   know Ms. Pate?

10:56:28   22              JUROR MEADE:     She was older than I was, but we all

10:56:29   23   went to the same high school.          And we coached tee ball

10:56:36   24   against each other and so...

10:56:36   25              MR. BUNT:    I don't think she liked it when you
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10:56:37    1   said she's older than you.       Okay.    So y'all --- y'all were

10:56:41    2   at the same school together coaching?

10:56:43    3            JUROR MEADE:     No, as far as tee ball goes, our

10:56:46    4   kids played against each other, and I mean, we were in the

10:56:48    5   same town.

10:56:49    6            MR. BUNT:    Okay.    Would -- would that create any

10:56:51    7   difficulties for you in sitting on this jury panel?

10:56:55    8            JUROR MEADE:     I don't think so.

10:56:56    9            MR. BUNT:    Okay.    Anybody else who knows one

10:56:58   10   another on the jury panel?

10:57:01   11            Yes, sir, Mr. Richardson?

10:57:03   12            JUROR RICHARDSON:      No. 2, Cheryl, friends.        Cheryl

10:57:09   13   Jones.

10:57:09   14            MR. BUNT:    Okay.    And how do y'all know each

10:57:18   15   other?

10:57:18   16            JUROR RICHARDSON:      Just from way past.

10:57:18   17            MR. BUNT:    All right.

10:57:20   18            JUROR RICHARDSON:      Distant friends.       We dated

10:57:21   19   actually for a little while.

10:57:21   20            MR. BUNT:    Okay.    We're learning lots of

10:57:21   21   information.

10:57:22   22            JUROR RICHARDSON:      We lost touch.

10:57:22   23            MR. BUNT:    Well, let's see what else we can find

10:57:23   24   out.

10:57:23   25            THE COURT:     That's the first time I've heard that
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10:57:24    1   one.

10:57:32    2            MR. BUNT:    That's right.

10:57:32    3            JUROR RICHARDSON:      She said sit down.

10:57:32    4            MR. BUNT:    Well, given that past, would it --

10:57:35    5   would that --

10:57:35    6            JUROR RICHARDSON:      Not at all.

10:57:36    7            MR. BUNT:    -- have some difficulties?

10:57:37    8            JUROR RICHARDSON:      Not at all.

10:57:39    9            MR. BUNT:    Okay.    Who else did we see a hand

10:57:42   10   raised on?

10:57:43   11            No. 12, Mr. Harris, who do you know on the panel?

10:57:45   12            JUROR KASSIDY HARRIS:       Yes.    Ms. Harris.     We're

10:57:46   13   actually not related, but we do attend church together.

10:57:50   14            MR. BUNT:    Okay.    Anything about that that would

10:57:52   15   make it difficult to sit on the jury panel?

10:57:54   16            JUROR KASSIDY HARRIS:       Absolutely not.

10:57:55   17            MR. BUNT:    While I've got you, though, let me ask

10:57:58   18   this:   If you had a difference of opinion from her, would

10:58:02   19   it be awkward to have that difference of opinion while

10:58:06   20   you're deliberating on a case if you know each other so

10:58:10   21   well from church?

10:58:11   22            JUROR KASSIDY HARRIS:       No.

10:58:12   23            MR. BUNT:    Okay.    Thank you.     Who else --

10:58:13   24            JUROR KASSIDY HARRIS:       Not for me anyway.

10:58:15   25            MR. BUNT:    Let me -- let me go back to Ms. Harris,
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10:58:18    1   give you a moment for rebuttal from everybody.            Would

10:58:20    2   that -- would that case you any -- any concern?

10:58:26    3              JUROR GAYLE HARRIS:      No, not at all.

10:58:28    4              MR. BUNT:   Okay.     One follow-up question.      This

10:58:36    5   invention that USAA invented has to do with a system that

10:58:42    6   can be used with many different consumer devices.             Is there

10:58:45    7   anybody here who would find it hard to rule on a case where

10:58:49    8   the system can apply to many different devices, like

10:58:52    9   digital cameras, scanners, or -- or smartphones, iPhones,

10:58:57   10   anything about that that would cause difficulty to you?

10:59:00   11              JUROR NILSSON:      Can you repeat the question one

10:59:02   12   more time?

10:59:02   13              MR. BUNT:   Sure.     This invention has to do with a

10:59:04   14   way of using many different consumer devices to take great

10:59:08   15   pictures that are going to be able to use -- to be used to

10:59:12   16   deposit checks.     Is there anything that would make -- about

10:59:15   17   that that would make it hard for you to sit on this jury,

10:59:19   18   ruling on a system that can apply to many different

10:59:24   19   devices?     Anything about that, sir?

10:59:27   20              JUROR NILSSON:      No, I don't think so.     I just

10:59:28   21   wanted to understand your question correctly.

10:59:30   22              MR. BUNT:   I appreciate that.

10:59:31   23              One final question, and I'm sure I missed

10:59:34   24   something, if there's some reason you feel like this is not

10:59:37   25   the right case for you, that I've failed to ask you
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10:59:41    1   something, and if I had, you would -- it's something that I

10:59:43    2   would really want to know.       If for whatever reason you feel

10:59:47    3   like this is not the case for you, please raise your hand.

10:59:49    4   If it's something you don't want to take up in front of

10:59:52    5   everybody, you want to take up privately with the Judge, we

10:59:56    6   can do this.       But this is the last chance.      If you feel

11:00:00    7   like this is not the right case for you, please raise your

11:00:04    8   hand and let me know.

11:00:05    9              Okay.    Thank you so much, ladies and gentlemen.            I

11:00:05   10   appreciate your time and attention, and we look forward to

11:00:08   11   putting on our case.

11:00:09   12              THE COURT:     Mr. Hill, you may address the panel on

11:00:11   13   behalf of the Defendant.

11:00:11   14              MR. HILL:    Thank you, Your Honor.

11:00:15   15              THE COURT:     And you'd like a five-minute warning,

11:00:17   16   as well?

11:00:17   17              MR. HILL:    Yes, sir, please.

11:00:18   18              THE COURT:     All right.   You may proceed.

11:00:19   19              MR. HILL:    Thank you.

11:00:20   20              Good morning, ladies and gentlemen.

11:00:21   21              As I mentioned to you earlier, my name is Wesley

11:00:25   22   Hill.   And to give fair disclosure, the information y'all

11:00:30   23   gave us, I'll give you the same.

11:00:30   24              I'm married.     I -- my wife's name is Catherine.

11:00:35   25   We've got a 25-year-old son that's a school teacher in
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11:00:38    1   Austin and a 12-year-old little girl that's a 7th grader

11:00:42    2   and a tennis player.      I grew up in Murchison over in

11:00:42    3   Henderson County.     That's over closer to Athens.

11:00:47    4            My law firm is based in Longview.          It's called

11:00:50    5   Ward Smith & Hill, that Mr. Bunt mentioned to you earlier.

11:00:53    6   That's my firm with me and my partners.          And along with my

11:00:56    7   co-counsel here, I'm proud to represent Wells Fargo in this

11:01:00    8   case.

11:01:00    9            Now, folks, I only get 30 minutes to talk to you

11:01:04   10   this morning.     So I want to spend my time this morning

11:01:07   11   focused on what's most important to me, and that's you,

11:01:12   12   okay?

11:01:12   13            I want to start by saying thank you because I know

11:01:16   14   that jury service is an imposition on your time.            I know

11:01:20   15   that it is a pain to have to disrupt your schedule, your

11:01:24   16   life, show up at the courthouse early one morning, sit

11:01:31   17   around, watch videos about things you might not find that

11:01:31   18   interesting, and then have lawyers talk at you for a couple

11:01:34   19   of hours, okay?     Not to mention the service and the time

11:01:37   20   imposition that will exist for those of you who serve on

11:01:40   21   this jury.   So I wanted to first, right out of the box,

11:01:44   22   tell you, thank you very much for being here.            You're what

11:01:47   23   makes the system work.

11:01:48   24            Now, Mr. Bunt had some things to say about USAA's

11:01:52   25   claims in this case.      He talks about what their claims in
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11:01:55    1   this case are.    And because I want to talk to you, all I'm

11:01:59    2   going to say at this point is that Wells Fargo respects

11:02:02    3   USAA, but we disagree with just about everything Mr. Bunt

11:02:09    4   had to say about the claims in these case -- in this case

11:02:13    5   and the patents in this case.

11:02:14    6            And those of you -- that's why we're here is to

11:02:18    7   get to present that dispute.       And those of you who serve on

11:02:25    8   this jury are going to get a chance to hear the full story

11:02:28    9   of that dispute and hear why I tell you that we disagree

11:02:31   10   with USAA and look forward to getting to show that to those

11:02:33   11   of you that -- that serve.

11:02:34   12            Now, folks, the reason we go through this process,

11:02:36   13   the reason we take all this time to talk to everybody, you

11:02:40   14   fill out the questionnaires, you answer the questions that

11:02:42   15   the Judge has you stand up and answer, is we're trying to

11:02:45   16   find a jury that's committed to being fair to both sides,

11:02:50   17   okay?   Fair to both sides.

11:02:51   18            And so what does that mean?         Think about that.

11:02:57   19   Think about if -- if you had an important case, what would

11:03:01   20   it mean for you for the jury to be fair to both sides?              And

11:03:05   21   I'll start out with Juror No. 1 here.          Mr. Bouzek, let

11:03:11   22   me -- let me ask, what would it mean to you for a jury to

11:03:17   23   be fair to both sides?

11:03:19   24            JUROR BOUZEK:     It would be very important to me if

11:03:20   25   I was on trial or my company.
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11:03:22    1            MR. HILL:    Okay.      Does it mean that that jury

11:03:25    2   doesn't start out leaning one way or the other?

11:03:28    3            JUROR BOUZEK:     Absolutely.

11:03:29    4            MR. HILL:    Doesn't start out pre-disposed?

11:03:32    5            JUROR BOUZEK:     That's correct.

11:03:32    6            MR. HILL:    All right.      Thank you, sir.

11:03:35    7            Let me ask just you to pass the microphone down

11:03:38    8   there to Juror No. 2 next to you.

11:03:41    9            Ms. Jones --

11:03:41   10            JUROR JONES:     Yes.

11:03:41   11            MR. HILL:    -- I'm going to ask you, what does it

11:03:42   12   mean to you for a jury to be fair to both sides?

11:03:45   13            JUROR JONES:     Same thing.     I mean, he -- exactly

11:03:46   14   what he was talking about.

11:03:47   15            MR. HILL:    Let me ask you this:        Does it mean that

11:03:48   16   the jury doesn't make their mind up early based on who the

11:03:53   17   parties are or what they think they know about them coming

11:03:56   18   in?

11:03:57   19            JUROR JONES:     Correct.

11:03:58   20            MR. HILL:    All right.      Does anybody disagree with

11:04:01   21   Ms. Jones?   Everybody agree that for a jury to be fair to

11:04:06   22   both sides, it doesn't mean they make their mind up early

11:04:10   23   or come in deciding things based on what they think they

11:04:13   24   know?

11:04:14   25            Let me ask -- we'll start there on the back row
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11:04:16    1   since we've got some -- you're there close, Mr. Johnston.

11:04:21    2            Juror No. 9, that's Ms. Manning?

11:04:21    3            JUROR MANNING:      Yes.

11:04:24    4            MR. HILL:    Ms. Manning, what do you think it means

11:04:26    5   for a jury to be fair to both sides?

11:04:28    6            JUROR MANNING:      Well, I think it should be equal

11:04:32    7   to both of them.

11:04:34    8            MR. HILL:    Do you think it -- do you think it

11:04:36    9   means that you hear all the evidence before you make up

11:04:39   10   your mind on what the real story is?

11:04:42   11            JUROR MANNING:      Well, I have to see what -- what

11:04:47   12   the story about before I could say.

11:04:51   13            MR. HILL:    Is there anybody right now -- and let

11:04:53   14   me -- I'll start with you, Ms. Manning.          Is there anybody

11:04:55   15   right now, because maybe of what you think of USAA or maybe

11:05:01   16   because of something Mr. Bunt had to say this morning when

11:05:05   17   he was talking to you about USAA and their claims, that you

11:05:08   18   feel like that, in fairness, you ought to tell us, you

11:05:15   19   know, I think I might start out leaning a bit their way?

11:05:19   20   Do you feel that way?

11:05:21   21            JUROR MANNING:      No.

11:05:22   22            MR. HILL:    No, ma'am?

11:05:22   23            JUROR MANNING:      No, sir.

11:05:22   24            MR. HILL:    You feel that way?

11:05:25   25            JUROR MANNING:      No, sir, no, sir.
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11:05:27    1              MR. HILL:   We start out equal footing?

11:05:29    2              JUROR MANNING:     Yes.

11:05:29    3              MR. HILL:   Thank you very much.       I appreciate it.

11:05:30    4              Let me ask this:     Is there anybody else that has

11:05:33    5   opinions about -- because of the opinions they hold about

11:05:35    6   USAA or the opinions that they hold about Wells Fargo, that

11:05:39    7   you feel like you start out in this case maybe a little

11:05:44    8   predisposed, and you're not the person for this case -- for

11:05:50    9   this case that can be that juror that is a hundred percent

11:05:54   10   fair on both sides?     Anybody?

11:05:57   11              Now, look, if -- if you do lean one way or another

11:06:03   12   on something, there's nothing wrong with that.            That

11:06:05   13   doesn't mean you don't get to serve on a jury.            All it

11:06:08   14   means is that we've got to make full disclosure here so

11:06:12   15   that the parties know where they start, okay?

11:06:14   16              And let me ask first -- I'll go back to Juror

11:06:20   17   No. 1 here, Mr. Bouzek, you had some things to say in the

11:06:22   18   questionnaire about Wells Fargo.

11:06:25   19              JUROR BOUZEK:    Yes.

11:06:26   20              MR. HILL:   And past experiences you had with the

11:06:29   21   company.

11:06:29   22              JUROR BOUZEK:    Correct.

11:06:30   23              MR. HILL:   Do you believe those past experiences

11:06:32   24   start you out with a -- where we start out a little bit

11:06:37   25   behind?
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11:06:38    1            JUROR BOUZEK:     No, I don't think so.        It's been

11:06:42    2   years ago, and, you know, if it was closer to that time,

11:06:46    3   I'd say yeah --

11:06:47    4            MR. HILL:    Okay.

11:06:47    5            JUROR BOUZEK:     -- anyhow.

11:06:49    6            MR. HILL:    Okay.     Nothing that you think would

11:06:52    7   influence your ability to be that impartial jury where that

11:06:55    8   I as a lawyer for Wells Fargo should have concerns about

11:07:01    9   anything from your past interactions with the company.

11:07:03   10            JUROR BOUZEK:     I don't think so.

11:07:04   11            MR. HILL:    All right.      All right.    It certainly

11:07:04   12   didn't have anything to do with patents, did it?

11:07:06   13            JUROR BOUZEK:     No, sir.

11:07:06   14            MR. HILL:    Thank you very much.

11:07:07   15            Also, by the same token, we had Ms. --

11:07:11   16   Ms. Hilgenfeld over here, yes, ma'am, can I talk to you for

11:07:14   17   just a second?    Now, you mentioned your business works a

11:07:18   18   lot for Wells Fargo --

11:07:20   19            JUROR HILGENFELD:       Yes, sir.

11:07:20   20            MR. HILL:    -- is that right?       And you think

11:07:21   21   because of that that you might start out predisposed?

11:07:25   22            JUROR HILGENFELD:       I honestly can't tell you.         I

11:07:32   23   mean, I don't know for sure.       I mean, since it's a patent

11:07:35   24   case, but at the same time, if they were sued --

11:07:46   25            MR. HILL:    Uh-huh.
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11:07:47    1            JUROR HILGENFELD:      -- or if they lost, then, you

11:07:50    2   know, that may have bearings.        I don't -- I'm kind of

11:07:54    3   wishy-washy there.

11:07:55    4            MR. HILL:    Okay.    Let me ask this question:         Who

11:07:57    5   in the jury panel thinks the folks at USAA's table ought to

11:08:02    6   be concerned a little bit if Ms. Hilgenfeld was on the

11:08:05    7   jury?

11:08:07    8            Okay.   I think we all kind of see that.           I mean,

11:08:10    9   she's got a business that -- that gets a lot of work from

11:08:13   10   Wells Fargo, and that doesn't mean she's not fair-minded.

11:08:16   11   It doesn't mean she wouldn't sit and consider the evidence

11:08:19   12   fairly, but it means she would start out because of her

11:08:23   13   experience with Wells Fargo probably in a way that would

11:08:25   14   make them a little uncomfortable, probably in a way that

11:08:28   15   would make people on the street looking at this trial think

11:08:32   16   maybe there was something going on there, maybe they didn't

11:08:34   17   get a fair shake, okay?       Everybody see that?

11:08:38   18            Thank you, Ms. Hilgenfeld.

11:08:40   19            JUROR HILGENFELD:      Thank you.

11:08:41   20            MR. HILL:    Appreciate that.

11:08:41   21            And, folks, the reason I bring that up, is there

11:08:44   22   anybody -- that works both ways.        Is there anybody that has

11:08:48   23   a relationship with USAA or opinions about USAA that makes

11:08:52   24   you feel like I might be a little bit in Ms. Hilgenfeld's

11:08:57   25   camp, if -- if Mr. Hill up there knew what I think about
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11:09:02    1   USAA, it might look like I start out a little slanted?               You

11:09:07    2   know, it doesn't mean you're not fair-minded, it just means

11:09:09    3   it's how you view folks, it's how you view the parties in

11:09:13    4   the case.   Anybody?

11:09:14    5            All right.     I appreciate that.

11:09:16    6            Now, ladies and gentlemen, before I get too far,

11:09:20    7   let me ask the obvious questions that lawyers have to ask

11:09:23    8   in these things and, that is, do you know anybody here on

11:09:26    9   the other side?

11:09:27   10            So we'll start out, you've got the lawyers in this

11:09:30   11   case for USAA, is a law firm called Irell & Manella, and

11:09:36   12   their lead lawyer in this case is a gentleman named

11:09:40   13   Mr. Jason Sheasby.     He's from Los Angeles.        And does anyone

11:09:42   14   here have any connection or has ever heard of or know

11:09:45   15   anything about the law firm Irell & Manella?           Anybody?

11:09:50   16            All right.     And you previously met Mr. Bunt.

11:09:53   17   Mr. Bunt is from Tyler.      He is with a firm called Parker

11:09:59   18   Bunt and Ainsworth, and Mr. Bunt and his wife's family, the

11:10:02   19   Parkers, are from the Hallsville area originally.             Does

11:10:07   20   anybody here have any connection to Mr. Bunt, heard of his

11:10:10   21   law firm, or you think you know either the Bunts or the

11:10:14   22   Parkers from the Hallsville area?         Anybody?

11:10:20   23            All right.     Oh, I'm sorry.

11:10:23   24            JUROR RANKIN:     I know some of the Parkers that

11:10:25   25   work in the high school.
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11:10:25    1            THE COURT:     Let's get the microphone and let you

11:10:27    2   stand up, please, sir.

11:10:29    3            MR. HILL:    Thank you.      That's Mr. Rankin.

11:10:32    4            JUROR RANKIN:     Yes, I know a couple of the Parkers

11:10:34    5   that work at the high school, but I was not -- unaware

11:10:36    6   there was any connections.

11:10:38    7            MR. HILL:    So you know some Parkers, but you don't

11:10:40    8   know them to be Mr. Bunt's in-laws?

11:10:43    9            JUROR RANKIN:     No, sir.

11:10:44   10            MR. HILL:    Thank you very much.        Anybody else?

11:10:46   11            Now, there's one other person I'd like to mention,

11:10:49   12   Mr. Todd Parish.     Mr. Parish is assisting USAA with the

11:10:53   13   jury selection in the case.       Is there anybody that knows

11:11:00   14   Mr. Parish?

11:11:01   15            All right.     Now, as I mentioned earlier, USAA is

11:11:05   16   the Plaintiff in this case, and according to Wikipedia,

11:11:09   17   USAA is the United Services Automobile Association --

11:11:15   18   that's what that stands for -- in San Antonio.            It is a

11:11:19   19   diversified financial services group of companies including

11:11:22   20   a Texas Department of Insurance regulated reciprocal

11:11:27   21   insurance exchange.     And it has subsidiaries offering

11:11:30   22   banking, investing, and insurance.

11:11:32   23            Is there anyone here who is a USAA customer --

11:11:38   24   USAA customer?     Let me see your hands here.        So we've got

11:11:42   25   No. 6, that's Mr. Meade, okay, we've got No. 19, that's
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11:11:46    1   Mr. Pickens.     Who else do we have out there?        No. 22.

11:11:53    2            JUROR NEELEY:     My wife is.

11:11:55    3            MR. HILL:    Your wife is, okay, and that's

11:11:59    4   Mr. Neeley?

11:12:00    5            JUROR NEELEY:     Yes.

11:12:01    6            MR. HILL:    All right.     Who else, Ms. Black?

11:12:04    7            Anybody I miss?      USAA customer or maybe your

11:12:07    8   spouse is?

11:12:08    9            All right.     Thank you.

11:12:09   10            Now, those of you who -- one thing you're going to

11:12:19   11   hear, those of you that serve on the panel and also those

11:12:22   12   of you just from everyday life may know, is that USAA,

11:12:27   13   they're an insurance company, but they also have banking

11:12:29   14   services.     And that's part of what's at issue in this case.

11:12:32   15   And they limit their services -- their insurance services

11:12:37   16   or their banking services to current or former members of

11:12:40   17   the military and their families, okay.          That's what USAA

11:12:43   18   does.   That's who they sell to.

11:12:46   19            Does hearing that cause anybody to feel like they

11:12:49   20   thought -- they start off more on the USAA side because

11:12:54   21   they try to service military families?          Anybody?

11:12:58   22            Does anybody here recall seeing USAA ads on TV?

11:13:04   23   Let me see hands.     How many of you have see them?

11:13:09   24            All right.     Does anybody recall anything from

11:13:11   25   those ads?
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11:13:12    1             Who do we have -- Mr. Bouzek.        Do you -- tell me

11:13:15    2   about that.    What -- what do you recall from those ads?

11:13:18    3             JUROR BOUZEK:    Just that, that they service prior

11:13:22    4   service members, and that's what sticks in my mind.

11:13:25    5             MR. HILL:   Okay.

11:13:26    6             JUROR BOUZEK:    So that's what I remember about

11:13:28    7   them, car, house, whatever.

11:13:29    8             MR. HILL:   Is there anything about the advertising

11:13:31    9   that you folks have seen that cause you to think you start

11:13:34   10   out having a more favorable view of USAA?           Do those ads

11:13:40   11   cause any of you to have just generally more favorable

11:13:45   12   views of USAA?    Do they cause any of you to have more

11:13:50   13   negative views of USAA?

11:13:53   14             Okay.   Thank you, sir.      I appreciate it.

11:13:58   15             Let me ask similarly about Wells Fargo.           Okay.

11:14:02   16   Wells Fargo also has television ads.         Does anybody recall

11:14:05   17   seeing Wells Fargo ads?       Let me see your hands.       Is there

11:14:10   18   anything about that advertising that makes anybody lean one

11:14:13   19   way or the other?

11:14:14   20             Now, this case involves two corporations, as we've

11:14:21   21   shown.    They're both large.     They're both successful.          And

11:14:25   22   is there anybody that, because of that, you have feelings

11:14:30   23   about big corporations generally?         Some people don't like

11:14:33   24   them.    Some people think it's a big corporation, I don't

11:14:39   25   really care for them.      Anybody share that feeling, feel
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11:14:44    1   that way?

11:14:46    2            Is there anybody who is concerned about big

11:14:51    3   corporations or think they ought to be subject to some sort

11:14:54    4   of government regulation?       Anyone?

11:14:58    5            All right.     Let me ask -- Mr. Bunt asked those of

11:15:04    6   you that knew each other.       I think there were a couple of

11:15:07    7   others he may have missed.       Let me see the hands again of

11:15:11    8   jurors that know one another.

11:15:12    9            All right.     Back here in the back.       We have Mr. --

11:15:14   10   No. 22, that's Mr. Neeley.

11:15:16   11            JUROR NEELEY:     Yes, sir.

11:15:17   12            MR. HILL:    Mr. Neeley, tell me who you know.

11:15:19   13            JUROR NEELEY:     Cooper Terry, me and him used to

11:15:23   14   work together.

11:15:23   15            MR. HILL:    Okay.    Where did y'all work?

11:15:25   16            JUROR NEELEY:     Fastenal.

11:15:26   17            MR. HILL:    All right.      Are y'all friends today or

11:15:28   18   just former work associates?

11:15:31   19            JUROR NEELEY:     Former work associates.

11:15:34   20            MR. HILL:    All right.      Thank you, sir.     Anything

11:15:35   21   about that, Mr. Neeley, that if you and Mr. Terry both

11:15:39   22   ended up on the jury that you think would be hard for you?

11:15:43   23            JUROR NEELEY:     No, sir.

11:15:43   24            MR. HILL:    If you and he disagreed, would you be

11:15:47   25   able to do that based on the fact that you know each other?
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11:15:50    1              JUROR NEELEY:   Yes, sir.

11:15:51    2              MR. HILL:   All righty.     Is there anybody who did

11:15:55    3   know folks on the jury who thinks, you know, if I got in a

11:15:57    4   jury room and me and that other person saw it different,

11:16:02    5   that might be an uncomfortable situation for me because of

11:16:04    6   that past relationship?      Was that a concern for anybody?

11:16:07    7   All right.

11:16:07    8              Now, folks, as you heard in the video this

11:16:12    9   morning, this is a patent case, and the patent system is

11:16:15   10   based on a bargain between the government and the inventor.

11:16:20   11   And as the video explained this morning, if you have

11:16:23   12   something that's new and what patent lawyers call novel and

11:16:28   13   if you clearly specify and describe that invention, tell

11:16:31   14   others how to make it in your patent and the Patent Office

11:16:34   15   agrees that it's new and novel and you've done those

11:16:37   16   things, then you can get a government-granted monopoly on

11:16:43   17   that.     You can get a patent on it.      That's what a patent

11:16:46   18   is.     And it's good for about 20 years, and after that it

11:16:49   19   belongs to everybody.      The ideas in that patent belong to

11:16:52   20   everybody.

11:16:52   21              Is there anybody who didn't realize before the

11:16:55   22   video today that that's effectively what a patent is, is a

11:16:59   23   government -- government-granted exclusivity, a

11:17:03   24   government-granted monopoly?

11:17:04   25              Was that a surprise to anybody?
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11:17:09    1              Now, is there anybody that came to court today

11:17:13    2   with any feelings about the Patent Office or you had an

11:17:16    3   opinion, you thought about it in the past?           It crossed your

11:17:20    4   mind and you have an opinion about the Patent Office?

11:17:23    5              For instance, does anybody come here today feeling

11:17:26    6   like the Patent Office generally does a pretty good job of

11:17:30    7   vetting patent applications and deciding whether to issue

11:17:33    8   patents?    Anybody come here today thinking that?

11:17:37    9              Let me call out somebody and ask.        Let's start on

11:17:40   10   the back row here, No. 12, Mr. Harris, let me ask you that

11:17:51   11   question.    Coming into court today, did you have any just

11:17:54   12   preconceived notion of the quality of the work the Patent

11:17:57   13   Office does?

11:17:58   14              JUROR KASSIDY HARRIS:      No, I did not.

11:17:59   15              MR. HILL:     All right.   What about next to you?

11:18:01   16   We'll go to Mr. Richardson.

11:18:04   17              JUROR RICHARDSON:     No, I did not.

11:18:06   18              MR. HILL:     No -- one way or the other?

11:18:06   19              JUROR RICHARDSON:     No, sir.

11:18:06   20              MR. HILL:     No --

11:18:06   21              JUROR RICHARDSON:     Never had any dealings with

11:18:06   22   patents.

11:18:07   23              MR. HILL:     All right.   And then here on the end,

11:18:08   24   No. 14, Ms. Pate?

11:18:13   25              JUROR PATE:     No, sir, no feelings.
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11:18:15    1            MR. HILL:    All right.     One of the defenses that

11:18:17    2   the jury in this case is going to hear about and will

11:18:19    3   decide is whether USAA's patents are invalid, okay?             That's

11:18:25    4   one of the issues that are going to exist in this case.

11:18:27    5   And a finding of invalidity means that you will be

11:18:31    6   canceling the patent USAA claims in this case.

11:18:34    7            Now, those are patents that were issued by the

11:18:38    8   Patent Office, and I'll -- I've done this a number of times

11:18:41    9   over the years.    A lot of folks don't feel comfortable with

11:18:43   10   that role, okay?     A lot of people think, I'm going to serve

11:18:46   11   on a jury, and I'm going to be asked to cancel a patent

11:18:53   12   that the Patent Office issued, I don't so much know about

11:18:57   13   that.

11:18:57   14            And so what I'm asking is, is there anybody out

11:19:00   15   there that feels like a jury shouldn't be the one asked to

11:19:03   16   invalidate a patent?      Anybody feel that way?       Anybody feel

11:19:07   17   uncomfortable knowing you're going to sit on a case where

11:19:10   18   depending on what the evidence shows, you may be in a

11:19:13   19   position where you have to invalidate a patent?            Does that

11:19:18   20   cause anybody discomfort?

11:19:19   21            Let's ask Mr. -- Mr. Nilsson.

11:19:23   22            JUROR NILSSON:       My question -- I actually had a

11:19:24   23   question because what --

11:19:24   24            MR. HILL:    Okay.

11:19:25   25            JUROR NILSSON:       -- what you're saying is, at the
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11:19:26    1   end of the day, so the decision made by the jury will not

11:19:31    2   only could -- it will invalidate a patent and then

11:19:36    3   naturally any money that someone was seeking would be

11:19:40    4   negated, as well?

11:19:42    5            MR. HILL:    That's right.

11:19:44    6            JUROR NILSSON:      That is what you're -- that's what

11:19:44    7   you're saying?

11:19:44    8            MR. HILL:    Yes, sir.

11:19:44    9            JUROR NILSSON:      Okay.   Just so we're clear.

11:19:45   10            MR. HILL:    If the patent is invalid -- if the

11:19:46   11   patent is invalid, then USAA can't use that invalid patent

11:19:49   12   to demand money damages --

11:19:49   13            JUROR NILSSON:      Understood.

11:19:51   14            MR. HILL:    -- from a company like Wells Fargo.

11:19:52   15            JUROR NILSSON:      That makes it clear for all of us.

11:19:55   16            MR. HILL:    All right.     Is there anybody who thinks

11:19:58   17   to themselves -- and, Mr. Nilsson, I'll start with you

11:20:01   18   since we were talking about it -- who thinks, you know, if

11:20:03   19   the -- if the evidence supported it, I might still have a

11:20:09   20   little hesitancy about invalidating a patent?

11:20:12   21            JUROR NILSSON:      I -- I'm not educated enough to

11:20:15   22   make that decision yet.      I need to have some more

11:20:18   23   information because I'm just not -- we're not there yet for

11:20:21   24   me to be able to answer the question.

11:20:25   25            MR. HILL:    Yes, sir.
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11:20:25    1            JUROR NILSSON:      I don't have all the facts.

11:20:26    2            MR. HILL:    A lot of people think -- you know, they

11:20:28    3   think, well, you know, that may be the law, but I couldn't

11:20:29    4   take away a patent issued by the Patent Office.            Do you

11:20:32    5   feel that way?

11:20:33    6            JUROR NILSSON:      I'm -- I'm just not ready to

11:20:35    7   make -- I just -- I can't answer it honestly because I

11:20:37    8   don't know.   I'm going to want to know more of the rules

11:20:41    9   and how all that stuff works.

11:20:42   10            MR. HILL:    Yes, sir.     And -- and once you learn

11:20:43   11   those rules and hear those rules, if the Judge tells you

11:20:47   12   that those are the rules and that's what you'll be asked to

11:20:49   13   do, do you believe you'd be able to consider the evidence

11:20:49   14   and decide that question and invalidate a patent if you

11:20:53   15   needed to?

11:20:53   16            JUROR NILSSON:      If it's wrong, it's wrong; if it's

11:20:55   17   right, it's right.

11:20:56   18            MR. HILL:    All right.     Let me go down the row

11:21:00   19   here.   Mr. -- Mr. Meade next to you.

11:21:02   20            Mr. Meade, how do you feel about that?

11:21:02   21            JUROR MEADE:     I'm kind of one of the ones that --

11:21:05   22   you know, it's not going to sway me either way.            If it's --

11:21:07   23   the findings go that it needs to be invalidated or

11:21:11   24   validated, either way.      In some ways, I kind of look at --

11:21:13   25   maybe it's a Patent Office issue that shouldn't be a jury.
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11:21:16    1            MR. HILL:    Uh-huh.

11:21:17    2            JUROR MEADE:     But that's kind of dealing with

11:21:19    3   things at work.    Usually, if it's your fight, then deal

11:21:23    4   with the people that should be dealing with it, not

11:21:26    5   necessarily anybody else.       But that's -- that's kind of

11:21:29    6   just a -- the way my business goes.         That's the way it's

11:21:31    7   kind of dealt with.     If it's your problem, you deal with it

11:21:36    8   with the people that it's circled around.

11:21:36    9            MR. HILL:    Well, if the -- if the Judge instructs

11:21:38   10   you on the law in this case and says that's an issue the

11:21:42   11   jury has to decide, that's the jury's role --

11:21:42   12            JUROR MEADE:     Uh-huh.

11:21:43   13            MR. HILL:    -- would you be able to perform that

11:21:45   14   role?

11:21:45   15            JUROR MEADE:     Yes, sir.

11:21:47   16            MR. HILL:    All right.      Is there anybody that would

11:21:48   17   have pause, who would think, Mr. Hill, that may be the law,

11:21:51   18   but I -- even if the evidence is there, I don't know if I

11:21:55   19   could invalidate a patent.

11:21:58   20            Let me start on the back row, folks I haven't

11:22:01   21   talked to here -- No. 10 here, if I can.          That's

11:22:05   22   Ms. Walker.

11:22:06   23            Ms. Walker, how do you feel about that?

11:22:08   24            JUROR WALKER:     I feel that if evidence presented

11:22:10   25   the fact that it was not valid, then I could rule it not
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11:22:15    1   valid.

11:22:16    2            MR. HILL:    Okay.     And then No. 9 right next to you

11:22:19    3   there.   Again, Ms. Manning?

11:22:19    4            JUROR MANNING:       Well, I feels the same way she

11:22:23    5   just said.

11:22:24    6            MR. HILL:    Okay.     And then No. 8 beside you there,

11:22:28    7   Ms. McDonald?

11:22:29    8            JUROR MCDONALD:       I feel the same way.

11:22:32    9            MR. HILL:    All right.

11:22:32   10            JUROR MCDONALD:       Whatever the evidence.

11:22:33   11            MR. HILL:    Is there anybody that disagrees with

11:22:35   12   them?

11:22:39   13            Now, let me see the hands of everybody that gets a

11:22:42   14   property tax bill every year from the county appraiser.

11:22:45   15   Doesn't bring a happy face when you raise that hand.

11:22:48   16            Now, let me -- let me just start -- let me see

11:22:51   17   those hands again.     Let me see who all we've got.          All

11:22:55   18   right.   Let's -- let's start here on the -- No. 15, that's

11:22:59   19   Ms. -- Ms. Shepard?

11:23:00   20            Ms. Shepard, let me ask you about that.            Now, you

11:23:05   21   get that property tax appraisal every year, right?             And the

11:23:08   22   appraisal district has trained professional appraisers,

11:23:12   23   right?

11:23:12   24            JUROR SHEPARD:       Right.

11:23:14   25            MR. HILL:    And it's their work for them to come up
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11:23:16    1   with that new property value each year.          Are those

11:23:18    2   appraisals always right?

11:23:20    3            JUROR SHEPARD:       In my mind, no.

11:23:22    4            MR. HILL:    Okay.     Why not?

11:23:24    5            JUROR SHEPARD:       I just feel like it reflects an

11:23:28    6   amount that not always -- you know, we haven't always done

11:23:29    7   improvements to our property and this and that, I don't

11:23:32    8   feel like.   But I do pay my taxes so...

11:23:33    9            MR. HILL:    Yes, ma'am.        We all have to --

11:23:37   10   begrudgingly or not, we have to.

11:23:41   11            JUROR SHEPARD:       Right.

11:23:41   12            MR. HILL:    Let me ask, is there anybody who

11:23:43   13   disagrees with Ms. Shepard and thinks, no, you know, the

11:23:45   14   tax office, they get those appraisals right?           Okay.

11:23:50   15            They make -- mistakes can be made, correct?

11:23:55   16            JUROR SHEPARD:       Correct.

11:23:56   17            MR. HILL:    Have you ever had to challenge an

11:23:59   18   appraisal?

11:24:02   19            JUROR SHEPARD:       Not that I recall, no.

11:24:03   20            MR. HILL:    Has anybody here ever challenged their

11:24:06   21   tax appraisal?

11:24:07   22            All right.     Let's see, No. 5 here, Ms. Fisher.

11:24:07   23            Thank you, Ms. Shepard.

11:24:13   24            Ms. Fisher, you've challenged a tax appraisal?

11:24:13   25            JUROR FISHER:     Yes, sir.
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11:24:14    1            MR. HILL:    All right.     Did you know that if you

11:24:15    2   take that far enough, you can even get a trial in court

11:24:19    3   over that property value?

11:24:20    4            JUROR FISHER:     I didn't.     I was able to settle it.

11:24:22    5            MR. HILL:    All right.     Very good.     But why do we

11:24:23    6   have that process, Ms. Fisher?

11:24:26    7            JUROR FISHER:     Well, to make sure that everything

11:24:28    8   is equal and -- and balanced.

11:24:32    9            MR. HILL:    All right.     So it's a check and a

11:24:34   10   balance on the -- on the appraisal office because sometimes

11:24:38   11   when things are done the first time, government agencies

11:24:41   12   don't all get it right, do they?

11:24:42   13            JUROR FISHER:     That's correct.

11:24:43   14            MR. HILL:    Anybody think government agencies are

11:24:47   15   infallible?

11:24:49   16            Okay.   Now, the Patent Office, Ms. Fisher, let

11:24:51   17   me -- let me just ask you a question about this.            The

11:24:53   18   Patent Office is a federal government agency, like the IRS,

11:24:57   19   like the VA, or other federal government agencies.             Have

11:25:02   20   you ever had any dealings with a federal government agency?

11:25:03   21            JUROR FISHER:     I've worked for the federal

11:25:05   22   government.

11:25:05   23            MR. HILL:    Okay.    Who did you work for?

11:25:06   24            JUROR FISHER:     It was an ammunition plant.

11:25:09   25            MR. HILL:    Was it Red River up in --
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11:25:11    1              JUROR FISHER:    No, it was Thiokol -- or Longhorn

11:25:15    2   Army Ammunition Plant.

11:25:17    3              MR. HILL:    I got you.     I got you.

11:25:18    4              You mentioned also earlier, Ms. Fisher, while I've

11:25:21    5   got you there, that your stepson had gotten a patent on

11:25:24    6   something?

11:25:24    7              JUROR FISHER:    Correct.

11:25:25    8              MR. HILL:    All right.     Is that going to influence

11:25:26    9   you, you think, in hearing a case where you may be asked to

11:25:30   10   invalidate a patent?

11:25:31   11              JUROR FISHER:    It won't, because I don't know

11:25:32   12   about them.

11:25:32   13              MR. HILL:    Okay.

11:25:32   14              THE COURT:    You have five minutes remaining,

11:25:35   15   counsel.

11:25:35   16              MR. HILL:    Thank you, Your Honor.

11:25:35   17              Well, folks, what you're going to see today, those

11:25:50   18   of you that hear this case, is that the Patent Office also

11:25:53   19   has a check and a balance.       Our patent laws set up a check

11:25:57   20   and a balance for the Patent Office.         That check and

11:25:59   21   balance is actually this.       It's you.    It's a jury trial.

11:26:03   22              And what we're going to be presenting to the jury

11:26:07   23   is asking that that check-and-balance process be used to

11:26:12   24   look at the work that the Patent Office has done in this

11:26:15   25   case.
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11:26:15    1             So I want to ask one last time before I move on,

11:26:23    2   anybody going to have a problem, going to have an issue,

11:26:23    3   going to have reservations if they're on a jury where

11:26:27    4   they're asked to exercise as to be that check valve that

11:26:29    5   exists?

11:26:31    6             Thank you, folks.

11:26:32    7             Now, one other thing you heard in this case is the

11:26:36    8   presumption of validity.      You heard mentioned earlier,

11:26:39    9   Judge -- and you heard it in the video earlier about there

11:26:45   10   is a presumption of validity about a patent.           And that's

11:26:47   11   true.

11:26:48   12             But let me talk to you about that.         Let me see the

11:26:51   13   hands of those of you who have served on a criminal case

11:26:51   14   before.   All right.

11:26:56   15             No. 4 here, Mr. Johns.       Now, there a presumption

11:26:58   16   in a criminal case, too, right?

11:27:00   17             JUROR JOHNS:    Yes, sir.

11:27:00   18             MR. HILL:    Presumption of innocence.        What did you

11:27:04   19   find in your case?

11:27:05   20             JUROR JOHNS:    My presumption of it?

11:27:07   21             MR. HILL:    Well, did y'all find the person guilty

11:27:09   22   or innocent?

11:27:11   23             JUROR JOHNS:    They were guilty.

11:27:12   24             MR. HILL:    All right.     So that presumption didn't

11:27:14   25   preclude you from reaching a verdict, did it?
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11:27:17    1             JUROR JOHNS:     No, sir.

11:27:17    2             MR. HILL:    Why not?

11:27:18    3             JUROR JOHNS:     Because it was the right -- it was

11:27:19    4   right.    I mean, evidence was there beyond a reasonable

11:27:20    5   doubt.

11:27:20    6             MR. HILL:    It was because the evidence was there,

11:27:21    7   right?

11:27:21    8             JUROR JOHNS:     Yes, sir.

11:27:22    9             MR. HILL:    So if there's evidence, the presumption

11:27:25   10   goes away and you follow what the evidence requires; is

11:27:29   11   that right?

11:27:29   12             JUROR JOHNS:     Yes, sir.

11:27:29   13             THE COURT:     Mr. Johns, hold that microphone

11:27:32   14   closer.

11:27:32   15             JUROR JOHNS:     Yes, sir.

11:27:34   16             MR. HILL:    Thank you, sir.      I appreciate it.

11:27:35   17             THE COURT:     Hold it closer next time.

11:27:38   18             MR. HILL:    Now, one of the things you're going to

11:27:40   19   hear addressed in this case is damages.          As you heard

11:27:44   20   earlier, USAA is going to ask for over a hundred million

11:27:47   21   dollars in damages.

11:27:48   22             And I have heard jurors say to me before after a

11:27:53   23   case, well, the Defendant in the case talked about why the

11:27:56   24   damages were wrong and why the damages should be lower, so

11:28:00   25   they obviously thought they owed something.
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11:28:05    1            Anybody think about it that way?          Think that if a

11:28:10    2   Defendant mentions damages, that they must think they owe

11:28:13    3   something?

11:28:14    4            No?

11:28:18    5            As you heard the Judge describe earlier, my job as

11:28:22    6   a lawyer, I'm legally required to rebut the case the

11:28:25    7   Plaintiff puts on, and so I can't just say, huh-uh.             I have

11:28:28    8   to put on evidence to rebut it.        And so part of our role

11:28:32    9   will be to put on damages evidence also.          And my question

11:28:35   10   is, is anybody on the jury going to look at our

11:28:39   11   presentation of damages evidence and think, oh, they're

11:28:42   12   admitting something?

11:28:43   13            Mr. Nilsson, would you feel that way?

11:28:45   14            JUROR NILSSON:      Not necessarily, no -- I'm sorry.

11:28:48   15            MR. HILL:    Do you understand that that's our task

11:28:50   16   as the defense side of a case is to put on the contrary

11:28:52   17   view?

11:28:53   18            JUROR NILSSON:      As much as it is their side of the

11:28:55   19   case to present their side.

11:28:57   20            MR. HILL:    Yes, sir.     Thank you, sir.

11:28:58   21            Now, ladies and gentlemen, I'll point out to you

11:29:06   22   what's gone on here this morning, I had to go second,

11:29:07   23   that's going to go on through the whole case.            They get to

11:29:09   24   go first as the Plaintiff.       We have to go second.        Have any

11:29:12   25   of you that have small children ever had one come tattling
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11:29:16    1   to you about what the other was doing?          Do you take what

11:29:19    2   the first one tells you as the gospel?          No?   Does it always

11:29:26    3   turn out that the story you get from the first one is

11:29:29    4   really what happened?      Anybody think that?

11:29:33    5            Can I get a commitment from all of you that you

11:29:36    6   will wait and hear both sides of the story, wait and hear

11:29:41    7   from us before you make your mind up?          Because it is our

11:29:45    8   belief that when you hear the whole story, you'll have a

11:29:48    9   different view of it.

11:29:49   10            And I want to just ask down the row here,

11:29:52   11   Mr. Bouzek, starting with you, can I get that commitment

11:29:55   12   from you.

11:29:55   13            JUROR BOUZEK:     Uh-huh.

11:29:58   14            MR. HILL:    Can I get that commitment from

11:30:00   15   everybody on the first row?       Can I get that commitment from

11:30:04   16   everybody on the back row?       What about over here, can I get

11:30:06   17   that commitment from everybody over on this side of the

11:30:10   18   room?   Is there anybody that tells me, I don't know if I

11:30:13   19   can give you that commitment?

11:30:15   20            Now, ladies and gentlemen, I will end much like

11:30:18   21   Mr. Bunt did.    Lawyers can't --

11:30:22   22            THE COURT:     Your time is expired.

11:30:23   23            MR. HILL:    Well, I will end quicker than Mr. Bunt

11:30:26   24   did.

11:30:27   25            Thank you, Your Honor, I appreciate the time.
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11:30:29    1            THE COURT:     Thank you.

11:30:30    2            All right.     Counsel, approach the bench, please.

11:30:46    3            (Bench conference.)

11:30:50    4            THE COURT:     Does the Plaintiff have any challenges

11:30:55    5   for cause, Mr. Bunt?

11:30:56    6            MR. BUNT:    Yes, Your Honor, No. 16.

11:31:02    7            THE COURT:     All right.     Any others?

11:31:06    8            MR. BUNT:    No, Your Honor.

11:31:08    9            THE COURT:     Okay.   Mr. Hill, does Defendant have

11:31:10   10   any challenges for cause?

11:31:12   11            MR. HILL:    Yes, Your Honor, we have four:          No. 6,

11:31:16   12   No. 19, No. 22, and No. 26.       And let me explain my issue

11:31:26   13   there, Your Honor.     So these individuals are all members of

11:31:30   14   USAA.   They or their spouse are a member of USAA, which

11:31:35   15   means that they have a direct financial interest in the

11:31:37   16   outcome of the litigation.

11:31:39   17            USAA, because of the nature of its ownership,

11:31:42   18   returns dividends based on financial performance of the

11:31:45   19   company to its members.      It is akin to stock ownership.             It

11:31:48   20   is a legal disqualification from jury service, Your Honor.

11:31:51   21   I have cases and case cites I can give you on the matter.

11:31:56   22   And I don't have them on hand here, but I've got them at

11:31:59   23   the table, Your Honor.      But a USAA member is akin to stock

11:32:04   24   ownership.

11:32:07   25            MR. SHEASBY:     Your Honor, I can confirm that his
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11:32:08    1   case law citations are correct.

11:32:11    2            THE COURT:     So you're agreeing, Mr. Sheasby, that

11:32:13    3   if these four venire members identified by Mr. Bunt are, in

11:32:18    4   fact, members of USAA, that they should be disqualified?

11:32:22    5            MR. SHEASBY:     Yes, and Mr. Hill is correct, Your

11:32:25    6   Honor.

11:32:25    7            MR. HILL:    And we have no -- no opposition to

11:32:32    8   No. 16 to -- cause challenge by the Plaintiff, Your Honor.

11:32:35    9            THE COURT:     Is there any factual dispute among the

11:32:37   10   parties as to the four venire members identified by

11:32:41   11   Mr. Hill as being actual members of USAA?           Do I need to

11:32:44   12   call them up here and verify that?

11:32:47   13            MR. HILL:    I don't know that we do, Your Honor.

11:32:48   14   We've heard from them both in open venire, and we've seen

11:32:53   15   the answers in the questionnaires.         They indicated these

11:32:59   16   answers in the questionnaires.

11:33:05   17            MR. SHEASBY:     I think we should ask 22 and 26

11:33:08   18   quickly, Your Honor.

11:33:08   19            THE COURT:     All right.     Well, with no opposition

11:33:13   20   from the Defendants to Plaintiff's challenge for cause as

11:33:18   21   to Ms. Hilgenfeld, No. 16, I'm going to excuse No. 16.

11:33:22   22            If there's any doubt, I'll bring up 22 and 26 and

11:33:28   23   confirm their membership in USAA.

11:33:30   24            MR. SHEASBY:     We would request -- we would

11:33:34   25   appreciate that, Your Honor.
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11:33:35    1            THE COURT:     There are obviously no scheduling

11:33:37    2   issues with any members of the panel.          Are there any other

11:33:40    3   members of the panel that I should hold back, other than 22

11:33:43    4   and 26, to question here about their membership in USAA?

11:33:47    5            MR. SHEASBY:     Nothing from Plaintiffs, Your Honor.

11:33:49    6            THE COURT:     Defendant?

11:33:50    7            MR. HILL:    No, sir -- no, sir, Your Honor.

11:33:51    8            THE COURT:     All right.     Take a seat, counsel.

11:33:53    9            MR. SHEASBY:     Thank you, Your Honor.

11:33:54   10            (Bench conference concluded.)

11:33:58   11            THE COURT:     Ladies and gentlemen, I'm about to

11:34:00   12   excuse you for a recess, except there are two of you I'm

11:34:04   13   going to ask to stay behind and let me talk with you here

11:34:07   14   briefly at the bench, but everyone else I'm going to excuse

11:34:10   15   for recess.

11:34:11   16            Those of you who are part of that larger group

11:34:14   17   that's going to be excused for recess, if you will exit

11:34:17   18   through the double doors in the back and stay inside the

11:34:20   19   building.     Don't leave the building.      Also, as you go on to

11:34:25   20   the recess, if you make a left going out of those double

11:34:28   21   doors, you'll find two important things, the restrooms and

11:34:34   22   the water fountains.

11:34:34   23            It's also important, ladies and gentlemen, that

11:34:36   24   those of you that are on recess, that you not talk about

11:34:39   25   anything that's happened in the courtroom today.            Talk
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11:34:41    1   about the weather, talk about what's left of the football

11:34:45    2   season, talk about anything you'd like to, but don't

11:34:48    3   discuss anything that's happened in here this morning.

11:34:50    4              Let me remind every one of you, you have not heard

11:34:53    5   any evidence in this case at all at this point.            So don't

11:34:58    6   discuss anything that's happened in the courtroom this

11:34:59    7   morning.

11:35:00    8              I'm going to ask everyone to recess in just a

11:35:07    9   minute except Panel Member No. 22, Mr. Neeley, and 26,

11:35:14   10   Ms. Black.

11:35:15   11              Everyone else, if you will exit at this time, if

11:35:19   12   those two will just remain in their seats, all but 22

11:35:24   13   and -- just leave your cards in your chairs.           All about 22

11:35:28   14   and 26 are excused for recess at this time.           If you'll lead

11:35:32   15   the way, Mr. Nilsson.

11:35:57   16              (Venire panel out.)

11:36:03   17              THE COURT:   Be seated, please.

11:36:18   18              Counsel, approach the bench.

11:36:34   19              And, Mr. Neeley, would you please come up and join

11:36:39   20   us, please, sir?

11:36:41   21              JUROR NEELEY:   Yes, sir.

11:36:50   22              (Bench conference.)

11:36:52   23              JUROR NEELEY:   Yes, sir.

11:36:52   24              THE COURT:   Good morning, Mr. Neeley.

11:36:54   25              JUROR NEELEY:   Good morning, how are you?
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11:36:56    1            THE COURT:     One quick question.       You are or are

11:36:59    2   not a member of USAA?

11:37:01    3            JUROR NEELEY:     My wife is.      I'm not.

11:37:02    4            THE COURT:     Okay.

11:37:03    5            JUROR NEELEY:     We used to have insurance through

11:37:05    6   them.

11:37:05    7            THE COURT:     How -- what -- what -- what kind of

11:37:07    8   insurance does your wife have through USAA?

11:37:09    9            JUROR NEELEY:     She has a bank account now.         We

11:37:11   10   used to have our homeowner's insurance and all that through

11:37:14   11   them.

11:37:15   12            THE COURT:     Yes, sir.

11:37:16   13            JUROR NEELEY:     And we -- we switched insurance

11:37:17   14   because the insurance rates, but we kept -- she kept the

11:37:21   15   bank account.

11:37:21   16            THE COURT:     So you don't have any insurance with

11:37:26   17   them at this time?

11:37:27   18            JUROR NEELEY:     No, sir.

11:37:27   19            THE COURT:     Do you have a bank account?

11:37:27   20            JUROR NEELEY:     Yes.

11:37:28   21            THE COURT:     Are you on that bank account?

11:37:30   22            JUROR NEELEY:     I don't think so.       I don't know.

11:37:31   23   She handles all that stuff.        I'm just the money maker.

11:37:37   24            THE COURT:     Okay.     All right.

11:37:38   25            Mr. Hill, do you have any questions of Mr. Neeley?
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11:37:41    1             MR. HILL:    Mr. Neeley, on the insurance policy,

11:37:43    2   those were your -- your home and your property y'all

11:37:46    3   jointly own?

11:37:47    4             JUROR NEELEY:    Yes, sir.

11:37:48    5             MR. HILL:    Did you have any other insurance with

11:37:50    6   them?

11:37:50    7             JUROR NEELEY:    No, sir.

11:37:51    8             MR. HILL:    Car insurance?

11:37:52    9             JUROR NEELEY:    We had car insurance, I believe --

11:37:55   10   car insurance, our side-by-side was insured with them, our

11:38:00   11   house was insured with them, but we switched to Hochheim.

11:38:07   12             MR. HILL:    Okay.   And the bank account you still

11:38:10   13   have --

11:38:11   14             JUROR NEELEY:    Yes, sir.

11:38:12   15             MR. HILL:    And you know that the USAA membership

11:38:17   16   extends to both the spouse -- to the military member, the

11:38:18   17   former military member, and to their spouse?

11:38:22   18             JUROR NEELEY:    Correct.

11:38:22   19             MR. HILL:    And so you participated in those

11:38:24   20   policies, as well?

11:38:25   21             JUROR NEELEY:    Well, yes, I guess -- because my

11:38:26   22   wife got it through her dad because he was a Marine, and he

11:38:31   23   had USAA.

11:38:31   24             THE COURT:    How long has it been since you had any

11:38:35   25   insurance with USAA, more than a year or two?
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11:38:39    1            JUROR NEELEY:     Year.

11:38:41    2            MR. BUNT:    Do you know if you were seeking

11:38:44    3   dividends from USAA?

11:38:46    4            JUROR NEELEY:     If I do, I don't know about it.

11:38:48    5            MR. BUNT:    Thank you, sir.

11:38:49    6            THE COURT:     If I were to call USAA in San Antonio

11:38:57    7   and say, is Mr. Chad Neeley a member of USAA, do you know

11:39:02    8   what they'd tell me?

11:39:04    9            JUROR NEELEY:     I honestly wouldn't know what

11:39:06   10   they'd tell you.

11:39:07   11            THE COURT:     Okay.    All right.    Mr. Neeley, anybody

11:39:09   12   else got any other questions?

11:39:11   13            MR. HILL:    No, sir.

11:39:11   14            MR. BUNT:    No, sir.

11:39:13   15            THE COURT:     Mr. Neeley, I'm going to let you join

11:39:15   16   the rest of the members outside.        Just don't discuss

11:39:18   17   anything we've talked about in here.

11:39:20   18            JUROR NEELEY:     Okay.    Thank you.

11:39:20   19            (Juror exits courtroom.)

11:39:25   20            (Bench conference continued.)

11:39:25   21            MR. SHEASBY:     Your Honor, he actually does not

11:39:27   22   sound like a member.

11:39:28   23            THE COURT:     Let me ask this, counsel, and I'll ask

11:39:30   24   this specifically to Mr. Hill:        If the participation by

11:39:34   25   someone like Mr. Neeley or his wife is unrelated to their
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11:39:39    1   insurance where they make a profit and share dividends with

11:39:44    2   members but it's only related to their banking function, is

11:39:49    3   it your position that they would potentially have a

11:39:53    4   pecuniary benefit --

11:39:54    5              MR. HILL:    Yes, Your Honor.

11:39:55    6              THE COURT:    -- only through the banking?

11:39:58    7              MR. HILL:    Yes, Your Honor, it would be.

11:39:59    8   The membership interest and the way it works once they have

11:40:02    9   the membership interest and the actual dividend payment, it

11:40:05   10   can also extend to banking customers.          And so --

11:40:07   11              THE COURT:    So they participate in any benefit no

11:40:09   12   matter what their level of actual coverage or interaction

11:40:12   13   with USAA is, as long as they're designated as a member?

11:40:16   14              MR. HILL:    I don't know that I can say it that

11:40:18   15   broadly, Your Honor, but I do know that since her

11:40:21   16   membership level was such that she bought insurance and

11:40:25   17   banking, the discovery we've taken in the case and the

11:40:28   18   research we've done indicates to us that they still would

11:40:31   19   have a continuing pecuniary interest and still would be --

11:40:35   20   and there would still be a legal basis for a challenge for

11:40:36   21   cause.

11:40:37   22              The fact that it's him -- or the wife and not him

11:40:40   23   doesn't, under our view of the case law, change that

11:40:43   24   either, Your Honor, because it's still a familial direct

11:40:45   25   benefit.
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11:40:46    1              THE COURT:     I understand.     Let me get Ms. Black up

11:40:48    2   here.

11:40:48    3              (Open court.)

11:40:48    4              THE COURT:     Ms. Black, would you join us, please?

11:41:09    5              (Bench conference continued.)

11:41:09    6              THE COURT:     Good morning.

11:41:10    7              JUROR BLACK:     Good morning.

11:41:11    8              THE COURT:     These are our microphones.      We're just

11:41:12    9   going to talk quietly.       I just really have one question.

11:41:13   10   Are you a member of USAA?

11:41:14   11              JUROR BLACK:     Yes.

11:41:15   12              THE COURT:     Okay.     That's all I need to know.

11:41:17   13              JUROR BLACK:     Okay.

11:41:17   14              THE COURT:     Can you join of the rest of the group

11:41:20   15   outside.    Just don't discuss what we talked about in here.

11:41:23   16              JUROR BLACK:     Thank you.

11:41:23   17              (Juror exits courtroom.)

11:41:24   18              (Bench conference continued.)

11:41:24   19              THE COURT:     All right.     That leaves us unresolved

11:41:31   20   strictly Mr. Neeley.

11:41:33   21              Counsel, I can take -- I can take briefing from

11:41:37   22   both sides or I can excuse Mr. Neeley.          He's at No. 22.

11:41:42   23   Let's see if we're going to reach him under any

11:41:46   24   circumstance.

11:41:49   25              No. 6 will go.     No. 16 will go.     And No. 19 will
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11:41:52    1   go.

11:41:52    2              MR. SHEASBY:     Your Honor, I'm going to make this

11:41:53    3   easy.     I don't want to --

11:41:55    4              THE COURT:     I don't think we're going to reach him

11:41:58    5   anyway.

11:41:58    6              MR. SHEASBY:     Okay.     So, yeah.

11:41:59    7              THE COURT:     All right.     Well, I'm going to -- just

11:42:03    8   for clarity in the record, counsel, I'm going to excuse

11:42:06    9   Ms. Hilgenfeld for cause.        I'm excusing Mr. Meade for

11:42:13   10   cause.     I'm going to excuse Mr. Pickens for cause, No. 19.

11:42:17   11   And Ms. Black, No. 26, for cause.

11:42:23   12              It does not appear -- with seating eight jurors

11:42:26   13   and each side having four strikes, it looks like we're

11:42:35   14   going to strike through No. -- is it 20?

11:42:40   15              MR. HILL:    I think it's 18, Judge.

11:42:41   16              THE COURT:     18?   It's one side or the other of 19.

11:42:43   17              MR. HILL:    16 -- 16 to burn, and then we got two

11:42:45   18   within the zone, that would be -- that's 18 total.             I

11:42:49   19   believe 18 would be the end of the strike zone.

11:42:52   20              MR. BUNT:    Your Honor, just so I'm clear, is it

11:42:55   21   Jurors No. 6 and No. 16 who are out?

11:42:59   22              THE COURT:     No. 16 is out, and No. 6 is excused,

11:43:03   23   yes.

11:43:03   24              MR. SHEASBY:     And 19.

11:43:04   25              THE COURT:     And 19 and 26, but striking from the
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11:43:07    1   beginning of the panel, I don't think -- I think Mr. Hill

11:43:11    2   is correct, we should strike -- you should strike through

11:43:15    3   No. 18.   So it's irrelevant whether Mr. Neeley is going to

11:43:20    4   be struck or not because he's never going to be reached.

11:43:23    5             MR. SHEASBY:     Yes, understood.

11:43:24    6             THE COURT:     So I'll --

11:43:30    7             MR. SHEASBY:     So I didn't need to be that generous

11:43:33    8   that quick.

11:43:34    9             THE COURT:     I don't -- I don't think I need a -- I

11:43:37   10   don't think I need to rule on whether Mr. Neeley is going

11:43:40   11   to be struck for cause or not because he's never going to

11:43:42   12   be reached.

11:43:43   13             MR. SHEASBY:     I agree, Your Honor.

11:43:43   14             MR. HILL:    I agree, Your Honor, unless he -- we

11:43:45   15   will maintain our challenge, but if some act of God happens

11:43:45   16   and we see he's going to be reached, we want our challenge

11:43:51   17   for the record.

11:43:51   18             THE COURT:     If he's going to be -- if he's going

11:43:52   19   to be reached, then I'll re-raise the issue with counsel

11:43:57   20   outside of the jury's presence before the jury is seated.

11:44:00   21             MR. HILL:    Thank you, sir.

11:44:01   22             MR. SHEASBY:     Thank you, Your Honor.

11:44:02   23             THE COURT:     All right.    Counsel, it's about 17

11:44:04   24   minutes until noon.      Why don't you have your jury lists

11:44:08   25   struck and back to Ms. Lockhart by noon, okay?
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11:44:13    1             MR. SHEASBY:     Thank you, Your Honor.

11:44:13    2             MR. HILL:    Thank you, Your Honor.

11:44:14    3             MR. BUNT:    May we use -- one of us use the jury

11:44:16    4   room, and we've already asked Judge Payne and he said we

11:44:19    5   could use his jury room.

11:44:22    6             THE COURT:     I know of no reason why you can't.

11:44:24    7             MR. BUNT:    Thank you, Judge.

11:44:24    8             MR. MELSHEIMER:     Thank you, Judge.

11:44:27    9             (Bench conference concluded.)

11:44:27   10             THE COURT:     All right.    While counsel exercise

11:44:29   11   their peremptory challenges, the Court will stand in

11:44:33   12   recess.

11:44:34   13             COURT SECURITY OFFICER:       All rise.

11:44:35   14             (Recess.)

12:13:36   15             (Venire panel in.)

12:13:36   16             COURT SECURITY OFFICER:       All rise.

12:13:38   17             THE COURT:     Be seated, please.

12:13:49   18             All right.     Ladies and gentlemen, if you will

12:13:51   19   listen carefully as your name is called, if you'll come

12:13:54   20   forward and take your seat in the jury box.

12:13:57   21             Let me give you a little bit of instruction before

12:13:59   22   we do that, however.      We're going to seat eight individuals

12:14:05   23   as the jury in this case.       We have a lot more than eight

12:14:09   24   seats in the jury box.

12:14:10   25             So, consequently, I'm going to ask that the first
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12:14:15    1   four people whose names are called come forward and place

12:14:19    2   themselves on the front row and the second four people,

12:14:22    3   five, six, seven, and eight, when your name is called, come

12:14:27    4   forward and go to the second row in the jury box.

12:14:29    5            I'm going to ask the first person who's called

12:14:32    6   when you enter the front row of the jury box, to walk down

12:14:36    7   and stand in front of the third chair from the end.             Leave

12:14:39    8   two vacant chairs past you.       That will put those four in

12:14:43    9   the middle of the front row.

12:14:45   10            And when Jurors 5, 6, 7, and 8 come to the second

12:14:50   11   row of the jury box, if you will just line up behind your

12:14:55   12   counterpart on the front row, that will put our eight

12:14:57   13   jurors in the center of the jury box, four on the front row

12:15:01   14   and four on the second row.       And if all of you will stand

12:15:04   15   until everyone is in the jury box and I instruct you

12:15:07   16   further, that would be the Court's preference.

12:15:09   17            So with that, I'm going to ask our courtroom

12:15:11   18   deputy, Ms. Lockhart, to call the eight members of our

12:15:18   19   jury.

12:15:19   20            COURTROOM DEPUTY:      Cheryl Jones, Gayla Harris,

12:15:30   21   Travis Johns, Karen McDonald, Rose Manning, Lara Pate,

12:15:52   22   Christie Shepard, and Tracey Brown.

12:15:57   23            THE COURT:     Thank you.     Please have a seat.

12:16:18   24            Those of you that were not selected to serve on

12:16:23   25   this jury, I'm about to excuse you at this time, but before
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12:16:26    1   I do, I want to mention a couple of things.

12:16:28    2              First of all, if you need any documentation for an

12:16:31    3   employer about where you've been this morning, any

12:16:34    4   questions you have, see Ms. Clendening and the staff in the

12:16:37    5   clerk's office out front.       They will assist you in anything

12:16:40    6   that you need.     They're going to want to recover those very

12:16:44    7   valuable laminated numbers that you're wearing and those

12:16:48    8   juror pins.     All of that will be picked up by the clerk's

12:16:53    9   office.     So see them on the way out, if you will.

12:16:57   10              If you have any questions or need any -- anything

12:16:58   11   about where you've been this morning, they'll be glad to

12:16:58   12   help you with that.

12:17:01   13              Also, ladies and gentlemen, the Court recognizes

12:17:04   14   full well that every one of you, even though you weren't

12:17:07   15   selected to serve on this jury, every one of you had other

12:17:10   16   places to be today, you had other things to do that were

12:17:13   17   important in your respective lives, and you set that aside,

12:17:17   18   and you sacrificed those personal matters to be here and

12:17:22   19   present yourself for service on this jury.

12:17:24   20              And even though you weren't selected, ladies and

12:17:26   21   gentlemen, you have done very real and important public

12:17:29   22   service by being here.      You have answered the call to jury

12:17:33   23   duty.     Even though you weren't selected, you've done what

12:17:36   24   every good citizen should do.

12:17:38   25              And, quite honestly, without ordinary citizens
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12:17:40    1   such as yourselves coming forward and summonsed and being

12:17:45    2   present for this process that we went through this morning,

12:17:46    3   the Court could not function as we're required to under the

12:17:49    4   Constitution.    You've done very real, important public

12:17:55    5   service by being here, and the Court thanks you for that.

12:17:57    6             The Court recognizes it, and I'm confident that

12:18:00    7   counsel for the parties, the Court staff, everyone on this

12:18:02    8   side of the courtroom recognizes and appreciates that.            And

12:18:06    9   we -- we want you to know that we're thankful for your

12:18:10   10   service, even though you weren't selected to serve on this

12:18:14   11   jury.

12:18:15   12             Again, if you have any questions or need anything

12:18:17   13   with regard to being here this morning, I'll direct you to

12:18:20   14   the clerk's office and Ms. Clendening.         Other than that,

12:18:22   15   ladies and gentlemen, with the sincere thanks for you being

12:18:25   16   here, you are excused at this time.

12:18:28   17             COURT SECURITY OFFICER:      All rise.

12:18:29   18             (Unselected venire panel members out.)

12:19:05   19             THE COURT:    Please be seated.

12:19:05   20             All right.    Members of the jury, I'm going to ask

12:19:10   21   that you stand at this time and be sworn.          I'll ask our

12:19:14   22   courtroom deputy, Ms. Lockhart, to administer the oath to

12:19:18   23   you.    Please stand.

12:19:19   24             (Jurors sworn.)

12:19:24   25             THE COURT:    Please be seated.
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12:19:35    1              Ladies and gentlemen, I'm going to excuse you for

12:19:41    2   lunch in just a few minutes, but there's some instructions

12:19:44    3   I need to give you at this time before I do that.

12:19:47    4              First of all, ladies and gentlemen, do not discuss

12:19:51    5   this case with anyone.     That is a -- an essential and

12:19:57    6   foundational instruction, and it's so important, you're

12:20:00    7   going to hear me repeat that throughout the trial process.

12:20:05    8              As a matter of fact, probably every time you get

12:20:06    9   up out of those seats, you're going to hear me say before

12:20:09   10   you do, don't discuss the case with anyone.

12:20:12   11              And when I say don't discuss the case, I mean

12:20:14   12   don't communicate in any way in any form about this

12:20:20   13   process.    It is absolutely essential that when all the

12:20:25   14   evidence has been presented and you retire to the jury room

12:20:28   15   to deliberate on your verdict, which will be your unanimous

12:20:32   16   answers to certain questions that I will send to you at

12:20:35   17   that time, it is essential that the only information you

12:20:39   18   have to draw upon in answering those questions in the

12:20:42   19   verdict form must have come from the evidence that's been

12:20:47   20   presented in this courtroom during this trial and nowhere

12:20:51   21   else.

12:20:52   22              You must rely on only the sworn testimony of the

12:20:55   23   witnesses who testified under oath and are subject to

12:21:00   24   cross-examination and the documents and other items that

12:21:02   25   the Court has admitted into evidence.
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12:21:07    1            That must be the sole universe of what you draw

12:21:10    2   upon to answer the questions in the verdict form.

12:21:13    3   Therefore, you must not communicate or discuss in any way

12:21:17    4   this case with anyone.     Otherwise, there will be things

12:21:20    5   before you that go beyond the evidence presented in open

12:21:25    6   court.   That's why this is so essential.

12:21:28    7            And I promise you, ladies and gentlemen, when you

12:21:31    8   get home this evening, unless you live alone, the first

12:21:35    9   thing you're going to hear when you walk through the door

12:21:37   10   is, tell me what happened in federal court in Marshall

12:21:40   11   today.

12:21:41   12            You can't even start to answer that question.

12:21:45   13   Just simply and upfront say to whoever, the Judge was very

12:21:51   14   clear, I can't talk about anything until the case is over.

12:21:54   15   Then I'll be free to discuss it with you.         But you must not

12:21:57   16   communicate with anyone in any way about this case.

12:22:00   17            And as a part of that, any of you that are active

12:22:02   18   on any form of social media, whether it's Facebook or

12:22:07   19   Twitter or Instagram or any of the other variations that

12:22:10   20   are out there, you must not post or tweet or do anything

12:22:15   21   with regard to social media.      That is communication.        You

12:22:18   22   must not communicate with anyone about this case.

12:22:22   23            And that, ladies and gentlemen, goes to the eight

12:22:24   24   of you among yourselves.      You are not permitted to talk

12:22:27   25   among yourselves about the evidence or the case until the
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12:22:33    1   time that all the evidence has been heard and at the point

12:22:38    2   that I instruct you to retire to the jury room and to

12:22:41    3   deliberate on your verdict.      At that point, but only at

12:22:45    4   that point, things shift and -- between the eight of you,

12:22:51    5   you go from not being able to discuss the case among

12:22:54    6   yourselves to being required to discuss the case and the

12:22:57    7   evidence among yourselves.

12:23:00    8            But until we get to that point, when I -- until I

12:23:02    9   instruct you to retire to the jury room and to deliberate

12:23:05   10   on your verdict, you must not communicate, even among the

12:23:09   11   eight of yourselves, about anything involving the trial or

12:23:12   12   the evidence in this case.

12:23:16   13            So at this point, my instruction to you is

12:23:19   14   completely across the board, do not communicate with anyone

12:23:22   15   in any way about this case, including the eight of

12:23:26   16   yourselves.

12:23:26   17            Also, you should not attempt to do any -- do any

12:23:31   18   research about anything involved in this case.           You should

12:23:34   19   not go online and try to look up the lawyers or the parties

12:23:38   20   or the law firms or any of the products that you might hear

12:23:44   21   about.   You're not permitted to do any research of any kind

12:23:48   22   in any way, whether it's online or otherwise.

12:23:50   23            And with that in mind, I'm going to ask that if

12:23:55   24   you have a cell phone device with you, that you not bring

12:24:00   25   it back into the courtroom.      And if you have it with you
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12:24:03    1   today, leave it on the table in the jury room.           And when

12:24:07    2   you come back tomorrow, don't bring it at all.           Either

12:24:10    3   leave it in your car or leave it at home.         But I do not

12:24:13    4   want you to be tempted with a smartphone that is a computer

12:24:18    5   you hold in your hand where you might be tempted to do any

12:24:22    6   research or let's Google this or let's look at that.              I

12:24:25    7   don't want you to have that temptation.

12:24:27    8            So if you have a smartphone, you're welcome to

12:24:31    9   leave it in the jury room for the remainder of today.

12:24:36   10   After today, don't bring it back inside the courthouse.

12:24:39   11   You can either leave it in your car, or if you have an

12:24:42   12   important email that you're expecting related to a business

12:24:46   13   matter, you'll have an opportunity during the day at breaks

12:24:47   14   to go to your car and look at it if it's important, but

12:24:49   15   don't bring those handheld computers, those smartphones

12:24:53   16   back into the courtroom at all after today.

12:24:55   17            Now, you're going to see the lawyers with those

12:24:57   18   kind of devices at their tables during the trial.           Those

12:25:00   19   are tools that they are using to conduct this case.

12:25:03   20   They're permitted to do that.       They're not permitted to

12:25:06   21   allow them to interrupt or disrupt the trial, and they will

12:25:09   22   have them on silent.     If that's not the case, then I'll

12:25:13   23   deal with it.   But don't feel that you've been put upon

12:25:17   24   that they can have a cell phone in their hand and you

12:25:20   25   can't.   There are very different reasons why I want you to
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12:25:23    1   leave them at home starting tomorrow, and they'll have them

12:25:25    2   available to them in the courtroom.

12:25:26    3              Also, ladies and gentlemen, I don't think it's

12:25:30    4   going to happen in this case, but it's possible, and I want

12:25:34    5   to bring it to your attention.       It's within the realm of

12:25:38    6   possibility that some third party over the course of this

12:25:41    7   trial could attempt to contact you and to influence your

12:25:45    8   vote and your decision in this case.        I don't think that's

12:25:49    9   likely, but I want you to understand there are no

12:25:52   10   insignificant cases that get to trial in a United States

12:25:56   11   District Court.

12:25:57   12              This is an important case to both of these

12:25:59   13   parties.    There's a lot on the line for both of these

12:26:01   14   parties.    And it is at least within the realm of

12:26:05   15   possibility that some outside third party might try to

12:26:10   16   influence your decision in this case.

12:26:12   17              If you get any overture of any type from anyone

12:26:17   18   that you are not comfortable with in any way while you're

12:26:20   19   serving as a juror in this case, you should immediately

12:26:24   20   inform Ms. Clendening.     She will advise me, and the Court

12:26:27   21   will deal with it.    I don't think it's likely, but it's

12:26:27   22   within the realm of possibility, so I need to call it to

12:26:27   23   your attention.

12:26:40   24              One other thing, ladies and gentlemen, during the

12:26:40   25   course of the trial, you'll be coming in the mornings and
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12:26:42    1   leaving in the afternoons, there will be breaks and

12:26:44    2   recesses, it's entirely possible, in fact it's probable,

12:26:48    3   that at some point you're going to pass in close proximity,

12:26:50    4   one of these lawyers, one of the witnesses, one of the

12:26:53    5   corporate representatives connected with this case, either

12:26:55    6   in the hallway, on the front steps, somewhere in and around

12:27:01    7   this courthouse.

12:27:01    8            When that happens, they're not going to speak to

12:27:06    9   you.   They're not going to smile and say good morning.

12:27:08   10   They're not going to be friendly and gregarious, as we

12:27:12   11   often are in East Texas.      That's because I've instructed

12:27:15   12   them not to, and that's because you are not to have any

12:27:18   13   communications of any type with anyone that would influence

12:27:21   14   you in any way and that would bring anything to bear other

12:27:27   15   than the sworn testimony that you receive in open court

12:27:30   16   during the trial and the exhibits that I admit into

12:27:33   17   evidence.

12:27:33   18            It all goes back -- most of the instructions

12:27:36   19   you're going to hear from me go back to that same bedrock

12:27:40   20   principle that the sole source of the only information that

12:27:43   21   you should have to draw upon in answering the questions

12:27:46   22   that will be in the verdict at the end of this trial must

12:27:50   23   be limited to what is given in open court under oath by way

12:27:55   24   of testimony that's subject to cross-examination and the

12:27:58   25   exhibits that the Court admits into evidence by ruling of
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12:28:02    1   the Court under the Federal Rules of Evidence.           That's it,

12:28:04    2   ladies and gentlemen.

12:28:05    3           And we must be diligent, all of us, to make sure

12:28:09    4   that there's nothing from any other source that comes into

12:28:11    5   your minds or your presence as a part of this trial.

12:28:15    6           That's why you're going to hear that instruction

12:28:17    7   from me over and over, and that's why if you smile at

12:28:21    8   somebody first thing in the morning and they're related to

12:28:23    9   one of these parties, they're not going to smile back,

12:28:25   10   they're not going to speak, they're not going to ask you,

12:28:28   11   did you have a good night?      They're not going to say

12:28:31   12   anything.

12:28:32   13           Don't hold that against them when that happens.

12:28:35   14   Don't think they're being rude or unfriendly.          They're

12:28:37   15   simply following the Court's instruction all related back

12:28:42   16   to that fundamental principle that I've mentioned to you.

12:28:44   17           Also, so you'll know, over the course of the

12:28:48   18   trial, it's been my experience that jurors in our part of

12:28:51   19   the country would rather work longer days each day and be

12:28:55   20   away from their homes and their families and their

12:28:57   21   businesses a shorter number of days.        There are places in

12:29:03   22   the United States where in federal court they start at

12:29:05   23   10:00 o'clock in the morning, and they stop at 3:30 or 4:00

12:29:08   24   o'clock in the afternoon.      But instead of five days to try

12:29:12   25   this case, it will take 10 or 15 days to try this case.
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12:29:16    1           We're not going to do that.         We're going to start

12:29:18    2   at 8:30 every morning, and we will go at least until 5:30

12:29:22    3   or 6:00 o'clock each evening.       If we've got a witness on

12:29:27    4   the witness stand that has 15 or 20 more minutes before

12:29:30    5   they're finished and it's 6:00 o'clock, we may go until

12:29:30    6   6:20 or 6:15.

12:29:33    7           I want you to be aware that my practice and the

12:29:36    8   one I think is most acceptable to the largest number of

12:29:41    9   people in our part of the country is we'd much rather be

12:29:44   10   gone from home and work a shorter number of days but work

12:29:48   11   each day a longer number of hours.        So that's the approach

12:29:51   12   that I typically take, and that's the approach we'll take

12:29:53   13   in this case.

12:29:54   14           So beginning tomorrow morning, I will need you in

12:29:57   15   the jury room present and assembled and ready to go by 8:30

12:30:00   16   which means you need to get here a little bit before 8:30

12:30:04   17   each morning.

12:30:05   18           And we will typically take a recess somewhere

12:30:09   19   between an hour and a half and two hours each part of the

12:30:14   20   day, and then we'll have a recess for lunch each day.

12:30:20   21           You also need to know that I ordered the

12:30:22   22   government -- the clerk's office to provide your lunch to

12:30:24   23   you each day in the jury room.       So lunch is going to be

12:30:27   24   brought to you in the jury room each day.         You're not going

12:30:30   25   to need to leave and go find a place to eat.          Especially
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12:30:30    1   those of you that are not familiar with Marshall, that will

12:30:33    2   save us a lot of time and allow us to move the process

12:30:36    3   through quicker so that we can finish within the time

12:30:38    4   estimate that I gave you during jury selection, and

12:30:41    5   hopefully have a verdict in hand and the case finished

12:30:45    6   sometime on Friday of this week.

12:30:46    7           All right.     Ladies and gentlemen, at this time,

12:30:54    8   I'm going to excuse you for lunch.        It should be in the

12:30:57    9   jury room waiting for you.

12:31:00   10           Again, do not discuss or communicate about this

12:31:03   11   case in any way with anyone, and we'll have you back after

12:31:07   12   lunch, at which time I will give you my preliminary

12:31:11   13   instructions, we'll hear opening statements from the

12:31:13   14   lawyers, and then after the opening statements, we'll get

12:31:16   15   on to the evidence.

12:31:18   16           After the opening statements, the Plaintiff will

12:31:20   17   call their witnesses, put on their evidence, which is

12:31:23   18   called the Plaintiff's case-in-chief.         Then when they have

12:31:26   19   finished with that, they will rest their case-in-chief, and

12:31:30   20   the Defendants will put on their evidence and call their

12:31:33   21   witnesses and present the Defendant's case-in-chief.

12:31:37   22           Then when the Defendants have called all their

12:31:40   23   witnesses and presented all their evidence, the Defendant

12:31:42   24   will rest their case-in-chief.

12:31:44   25           When the Defendant rests its case-in-chief, then
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12:31:47    1   the Plaintiff will have an opportunity to call what are

12:31:50    2   called rebuttal witnesses.      I don't know whether the

12:31:52    3   Plaintiff will or not, but at that point, if they have

12:31:57    4   rebuttal witnesses, they will put them on.          And when the

12:32:00    5   Plaintiff's rebuttal witnesses have all testified, then you

12:32:02    6   will have heard all the evidence in the case.

12:32:04    7           And at that point, I will give you my final

12:32:09    8   instructions on the law that you are to apply.           This is

12:32:11    9   sometimes called the Court's charge to the jury.

12:32:15   10           After I've given you those final instructions,

12:32:17   11   then counsel for both Plaintiff and Defendant will present

12:32:20   12   their closing arguments to you.       And when you've heard

12:32:24   13   your -- heard the closing arguments, when that's complete

12:32:27   14   and after I have completed any final instructions, then I

12:32:30   15   will instruct you to retire to the jury room and

12:32:34   16   considering all the evidence, deliberate on the verdict

12:32:36   17   that you're going to return in this case.

12:32:38   18           At that point, but not until, it will become your

12:32:43   19   obligation and duty to discuss among the eight of you the

12:32:46   20   evidence that you've heard in your attempt to arrive at a

12:32:50   21   unanimous verdict in this case.

12:32:51   22           So that's how the structure of the trial will go.

12:32:55   23   Preliminary instructions, opening statements, Plaintiff's

12:32:59   24   case-in-chief, Defendant's case-in-chief, Plaintiff's

12:33:02   25   rebuttal case, final instructions from the Court, closing
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12:33:06    1   arguments from the lawyers, then you will retire to

12:33:09    2   deliberate on the verdict.      That's a thumbnail structural

12:33:13    3   sketch of how the trial will go over the next week.

12:33:16    4           All right.     Ladies and gentlemen, with those

12:33:17    5   instructions, again reminding you not to discuss the case

12:33:20    6   in any way, you're excused to the jury room for lunch,

12:33:23    7   which should be waiting for you there.

12:33:25    8           COURT SECURITY OFFICER:        All rise.

12:33:26    9           (Jury out.)

12:33:53   10           THE COURT:     Be seated, please.

12:33:53   11           Counsel, this morning in chambers we met and

12:34:00   12   reviewed objections to certain demonstratives and other

12:34:04   13   issues that would arise during opening statements.            At that

12:34:06   14   point, there seemed to be an agreement worked out among

12:34:09   15   Plaintiff and Defendant concerning the issue of Doctrine of

12:34:15   16   Equivalents.   And I indicated to you in chambers that once

12:34:18   17   we had the jury selected but outside their presence, I

12:34:21   18   would ask you to put that agreement on the record.

12:34:23   19           Are you prepared to do that?

12:34:29   20           MS. GLASSER:     Your Honor, we had presented a

12:34:31   21   proposal to the Defendants.      If they're amenable to it, we

12:34:34   22   can read it into the record or print it out for Your Honor.

12:34:37   23           MR. BITTNER:     Your Honor, we do have a slight

12:34:39   24   counterproposal.    We just got it a few minutes ago.          I can

12:34:42   25   speak with Ms. Glasser over the break.         I believe that we
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12:34:45    1   can reach an agreement.

12:34:46    2            THE COURT:     All right.    You all -- I -- I gather

12:34:50    3   you don't think this is an insurmountable difference,

12:34:54    4   Mr. Bittner?

12:34:55    5            MR. BITTNER:     I do not.

12:34:56    6            THE COURT:     I'll let you all discuss it over the

12:34:58    7   lunch break, and then before I bring the jury back in, I'll

12:35:02    8   expect to hear something to announce into the record at

12:35:05    9   that time.

12:35:05   10            MS. GLASSER:     What would Your Honor's preference

12:35:06   11   be as to the reading of it?      Is it something that the Court

12:35:07   12   will do or -- or the parties?

12:35:08   13            THE COURT:     No, I'll probably ask you to read it

12:35:11   14   into the record, and then ask the other side to confirm

12:35:13   15   that that's accurate.

12:35:15   16            MS. GLASSER:     Thank you, Your Honor.

12:35:16   17            THE COURT:     All right.    Are there -- is either

12:35:19   18   side aware of anything else we need to take up before we

12:35:21   19   break for lunch?

12:35:23   20            MR. SHEASBY:     Your Honor, there is one issue,

12:35:25   21   which is Defendants have asked for a short instruction to

12:35:28   22   be given.    There are -- there is video plays this afternoon

12:35:31   23   that have been agreed to.      The Defendants have asked for a

12:35:33   24   short instruction to be given, given context of video

12:35:36   25   plays.   We're in the process of agreeing to that.          And my
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12:35:39    1   expectation is that when we come back after lunch, we'll

12:35:43    2   present that proposed instruction to the jury on video

12:35:45    3   plays.

12:35:46    4            THE COURT:     All right.    Well, again, I'll direct

12:35:47    5   that you meet and confer about that over the lunch hour,

12:35:50    6   and we'll see where we are after lunch is completed but

12:35:53    7   before I bring the jury back in.

12:35:55    8            MR. SHEASBY:     Thank you, Your Honor.

12:35:56    9            THE COURT:     Anything from Defendant at this

12:35:57   10   juncture?

12:35:57   11            MR. MELSHEIMER:     No, Your Honor.

12:35:58   12            THE COURT:     We stand in recess for lunch.

12:36:00   13            I'll plan to be back on the bench by 1:30.

12:36:06   14            COURT SECURITY OFFICER:       All rise.

12:36:06   15            (Recess.)

01:06:45   16

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       1                            CERTIFICATION

       2

       3              I HEREBY CERTIFY that the foregoing is a true and

       4   correct transcript from the stenographic notes of the

       5   proceedings in the above-entitled matter to the best of my

       6   ability.

       7

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       9    /S/ Shelly Holmes                              1/6/2020
           SHELLY HOLMES, CSR, TCRR                        Date
      10   OFFICIAL REPORTER
           State of Texas No.: 7804
      11   Expiration Date: 12/31/20

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